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The Honorable Marsha J. Pechman

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==" UNTTED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

THOMAS R. DREILING, on behalf of
INFOSPACE, INC,

NO. CO01-1528P
Plaintiff,
JUNE 23, 2003 DECLARATION OF
Vv. WILLIAM H. BEAVER
STILES A. KELLETT, JR., an individual;
and KELLETT PARTNERS, LP, a limited
partnership; and NAVEEN JAIN and
ANURADHA JAIN, husband and wife, and
their marital community, THE JAIN
FAMILY IRREVOCABLE TRUST, THE
NAVEEN JAIN GRAT NO. 1 TRUST, and
THE ANURADHA JAIN GRAT NO. 1
TRUST,

Noted for Consideration: July 2, 2003

Nm” Nome Smee nee ee Ne ene mee ne ee ne! ape eee ese mee” Seger Spe” eae”

Defendants.

I, William H. Beaver, declare as follows:
1. I am over age 18 and competent to be a witness herein and am making this

declaration based on facts within my own personal knowledge.

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JUNE 23, 2003 DECLARATION 4 (a FAN [

- Law Offices
conan He BEAVER I KARR: TUTTLE-CAMPBELL

#471547 v1 / 36238-001 A Professional Service Corporation

1201 Third Avenue, Suite 2900, Seattle, Washington 98101-3028
Talephows (206) 223-1313, Facsimile (206) 682-7100

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1 2. I am a shareholder in the law firm of Karr Tuttle Campbell and am one of the
2 attorneys representing the Jain Trusts and Anuradha Jain in this matter.
3
4 3. Since my very recent involvement in this matter, it has appeared clear to me
5 ||that one of the central facts in this matter concerns the Indemnity Agreement entered into
6 |I between Naveen Jain, InfoSpace.com, Inc., and the remaining members of the InfoSpace
7
board of directors. Not only are the specific terms and conditions of the agreement important,
8
9 but also important are the timing of the negotiations of the agreement and the date the
10 |; agreement was actually finalized.
VW 4. In attempting to sort out the sequence of events concerns the Indemnity
12
Agreement, I contacted the attorney who represented Mr. Jain concerning the negotiations of
13
| 14 the Agreement, Bruce Robertson of Garvey Schubert & Barer. I was sent e-mails that
:
15 j] originated from Perkins Coie which attached various drafts of the Indemnity Agreement.
16 5. This court was provided as the final Indemnity Agreement a document dated
17
8 December 11, 1998. See Exhibit 23 to Declaration of Richard E. Spoonemore in Support of
19 || Plaintiff's Response and Cross Motion for Summary Judgment. The court will note that the
20 || “footer” on the document is dated December 11, 1998.
21
6. When I hit the “view footer” function on my computer while reviewing the
22
23 electronic versions of the draft Indemnity Agreements sent to me with the above referenced e-
24 |/mails, I noted that the footers on two of the documents indicated that they had been drafted on
25 |) December 12 and December 14, 1998. I thus inquired how this could be and eventually
26
27
28
JUNE 23, 2003 DECLARATION
OF WILLIAM H. BEAVER - 2 Law Offices
[CO1-1528P] KARR-TUTTLE*-CAMPBELL
#471547 v1 / 36238-001 A Professional Service Corporation

1201 Third Avenue, Suite 2900, Seattle, Washingion $8101-3028
Telephone (206) 223-1313, Facsimile (206) 682-7100

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learned that in fact the Indemnity Agreement continued to be negotiated through December 14,
1998.

7. I have attached as exhibits the various forms of the Indemnification Agreement
that I have located to date during my efforts to sort out both the terms of the final Indemnity
Agreement and the chronology of events leading up to the finalization of that Agreement.

8. Attached as Exhibit I is an electronic version of the Indemnity Agreement
which by footer was dated December 10, 1998 (note that the last date in the footer is simply
the date on which I printed the document).

9, Attached as Exhibit 2 is a red-lined version of the Indemnification Agreement
that was apparently prepared on December 11, 1998. It is clear from looking at paragraph
l(a), that there was at least one version of the draft indemnification agreement between
Exhibit I and Exhibit 2.

10. = Attached as Exhibit 3 is yet a further version of the Indemnification Agreement
generated on December 11, 1998.

11. Attached as Exhibit 4 is a red-lined version of the Indemnification Agreement
generated on December 14, 1998 with the red-lines apparently superimposed upon a version of
the Indemnification Agreement that was generated on December 12, 1998. It is my
understanding from Mr. Robertson that this is actually the final version of the Indemnification
Agreement agreed to by all parties.

12. Attached as Exhibit 5 is a copy of the Indemnification Agreement that was

attached to InfoSpace’s prospectus filed with the SEC. At the top of this exhibit is reflected

JUNE 23, 2003 DECLARATION

OF WILLIAM H. BEAVER - 3 Law Offices
[CO1-1528P] KARR-TUTTLE-CAMPBELL

#471547 v1 / 36238-001 A Professional Service Corporation

1201 Third Avenue, Suite 2800, Seattle, Washington 991019028.

Telephone (206) 223-1312, Facsimile (206) 682-7100

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| || when the document was actually filed with the SEC. Several of the pages reflect that they
2 were filed on December 11, 1998, but several of the other pages reflect that they were filed on
3
4 December 14, 1998. Although I have not been able to determine the exact sequence of events,
5 || it appears that the December 11, 1998 version of the Indemnity Agreement was originally filed
6 || with the SEC and then when the Indemnity Agreement was finalized on December 14, those
ty Ag
7
pages that were different from the December 11 version were re-filed with the SEC.
8
9 13. Attached as Exhibit 6 is a further version of the Indemnification Agreement
10 || which has a February 11, 1999 date on the footer, except for the signature pages for Mr. Jain
1 tl and Mr. Cunningham which have a December 11, 1998 footer date. I have reviewed this
12
document and do not believe it contains any substantive changes from the final version agreed
13
14 |}to on December 14.
15 DATED in Seattle, Washington this day of June, 2003.
16
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18 Willia . Beaver
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JUNE 23, 2003 DECLARATION
OF WILLIAM H. BEAVER - 4 Law Offs
[CO1-1528P] KARR-«TUTTLE:CAMPBELL

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1201 Third Avenue, Suita 2600, Seattle, Washington 98161-1028
Telephone (206) 223-1313, Facsimile (206) 682-7100

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EXHIBIT 1

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Indemnification Agreement

This Indemnification Agreement (this "Agreement") dated as of December __,
1998 is made between Naveen Jain ("Mr, Jain"), InfoSpace.com, Inc., a Delaware
corporation (the "Company"), all the current and future members of the Company's
board of directors (excluding Mr. Jain) (the "Beard’), and (the
"Escrow Agent’). Collectively, the Company and the members of the Board shall be
referred to herein as the “indemnified parties”.

RECITAL

To induce the Company's current and future directors to accept the position of,
or to continue to serve as, directors of the Company, Mr. Jain has agreed to indemnify
the Board and the Company against certain losses.

AGREEMENT
14. Indemnification of the Company and the Board

(a) Mr. Jain agrees to hold harmless and indemnify the Company and the
Board from and against all losses, liabilities, damages or expenses incurred by the
Company or the Board, including reasonable fees and expenses of counsel, that result
from any obligation or liability arising out of or in connection with the business of the
Company on or prior to November 30, 1998, with the exception of those claims for the
issuance of the Company’s common stock (“Shares”) or options to acquire Shares
involving, in the aggregate, 15,000 or fewer Shares (collectively, the "Zesses").

(b) (b) Notwithstanding the foregoing, the indemnification provided
hereby shall be unavailable for any obligation or liability of the
Company that is specifically reflected or reserved against in the
Company's financial statements for the fiscal years ended 1996, 1997
and the nine-month period ended September 30, 1998, which are
attached hereto as Exhibit A, other than those obligations or liabilities
arising out of claims made by former employees or consultants of the
Company or alleged former employees or consultants of the Company,

2. Limitations

(a) Claims for indemnification made under this Agreement may be made
only during the period from the date hereof until five years after the date hereof.

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(b) | No indemnified party shall be entitled to receive any indemnification
payment with respect to claims for indemnification made under Section 1, until
aggregate Losses that al] indemnified parties would be otherwise entitled to receive as
indemnification exceed $100,000 (the "Threshold"); provided, however, that once
such aggregate Losses exceed the Threshold, such party shall be entitled to receive
indemnification payment for the aggregate Losses that they would be entitled to
receive without regard to the Threshold.

(c) The maximum aggregate amount that the indemnified party shall be
entitled to under Section | is the Escrowed Stock (as defined below).

3. Procedure

(a) Any indemnified party hereto seeking indemnification hereunder shall
notify Mr. Jain in writing reasonably promptly after the assertion against the
indemnified party of any claim by a third party or a derivative claim (a "Third-Party
Claim") in respect of which the indemnified party intends to base a claim for
indemnification hereunder, but the failure or delay so to notify Mr. Jain shall not
relieve it of any obligation or liability that it may have to the indemnified party except
to the extent that Mr. Jain demonstrates that its ability to defend or resolve such Third
Party Claim is adversely affected thereby.

(b) (a) Mr. Jain shall have the right, upon written notice given to the
indemnified party within 30 days after receipt of the notice from the indemnified party
of any Third Party Claim, to assume the defense or handling of such Third Party
Claim, at Mr. Jain’s sole expense, in which case the provisions of Section 3(b){ii)
below shall govern. (ii) Mr. Jain shall select counsel reasonably acceptable to the
indemnified party in connection with conducting the defense or handling of such
Third Party Claim, and Mr. Jain shall defend or handle the same in consultation with
the indemnified party, and shall keep the indemnified party timely apprised of the
status of such Third Party Claim, and shall not, without the prior written consent of
the indemnified party, directly or indirectly assume any position or take any action that
would impose any obligation of any kind on or restrict the actions of the indemnified
party. Mr. Jain shall not, without the prior written consent of the indemnified party,
which consent shall not be unreasonably withheld, agree to a settlement of any Third
Party Claim that could directly or indirectly lead to liability or create any financial or
other obligation on the part of the indemnified party for which the indemnified party is
not entitled to indemnification hereunder. The indemnified party shall cooperate with
Mr. Jain and shall be entitled to participate in the defense or handling of such Third
Party Claim with its own counsel and at its own expense. Notwithstanding the
foregoing, in the event Mr. Jain fails to conduct the defense or handling of any Third

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Party Claim in good faith after having assumed such defense or handling, then the
provisions of Section 3(c)(ii) below shall govern.

(c) @) If Mr. Jain does not give written notice to the indemnified party,
within 30 days after receipt of the notice from the indemnified party of any Third
Party Claim, of Mr. Jain's election to assume the defense or handling of such Third
Party Claim, the provisions of Section 3(c)(ii) below shall govern. (11) The
indemnified party may, at Mr. Jain's expense, select counsel in connection with
conducting the defense or handling of such Third Party Claim and defend or handle
such Third Party Claim in such manner as it may deem appropriate, provided,
however, that the indemnified party shall keep Mr. Jain timely apprised of the status
of such Third Party Claim. If the indemnified party defends or handles such Third
Party Claim, Mr. Jain shall cooperate with the indemnified party and shall be entitled
to participate in the defense or handling of such Third Party Claim with its own
counsel and at its own expense.

(d) If the indemnified party intends to seek indemnification hereunder, other
than for a Third Party Claim, then it shall notify Mr. Jain in writing within six months
after its discovery of facts upon which it intends to base its Claim for indemnification
hereunder, but the failure or delay so to notify Mr. Jain shall not relieve Mr. Jain of
any obligation or liability that Mr. Jain may have to the indemnified party except to
the extent that Mr. Jain demonstrates that Mr. Jain's ability to defend or resolve such
Claim is adversely affected thereby.

4, Establishment of Escrow Fund

(a) On the date hereof, Mr. Jain shall deliver to the Escrow Agent
certificates representing 1,000,000 shares of the Company's Common Stock (the
"Escrowed Stock"), along with an assignment separate from such certificate properly
endorsed for assignment in blank. The Escrowed Stock and all cash obtained by the
Escrow Agent hereunder shall be referred to as the "Escrow Fund".

(b) Mr. Jain will have all rights to the Escrowed Stock, including, without
limitation, the right to vote the Escrowed Stock and the right to receive cash dividends
in respect of the Escrowed Stock; provided, however, that, until this Agreement is
terminated pursuant to Section 9, the Escrow Agent shall have (i) the right to possess
the Escrowed Stock and (11) the right to receive securities or other property in
exchange therefor or in respect thereof or dividends (other than cash dividends) or
other distributions thereon or with respect thereto.

(c) Mr. Jain will have the right to sell the Escrowed Stock, provided that all
the proceeds of such sale remain part of the Escrow Fund and available for payment

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to an indemnified party pursuant to Section 6 until this Agreement is terminated
pursuant to Section 9. Any such sale shall be made only through a brokers’
transaction on the open market for cash consideration.

5. Claims on Escrow Fund

(a) If the indemnified party shall incur Losses, it shall within ten days of
learning of facts giving rise to the claim for Losses deliver to the Escrow Agent and
Mr. Jain a certificate (a "Claim Certificate") signed by a member of the Board or an
officer of the Company stating that one or more members of the Board and/or
Company has incurred the Losses specified in such Claim Certificate and setting forth
in reasonable detail the facts giving rise to the claim and the basis for the claim.

(b) Mr. Jain shall have 20 business days after delivery to the Escrow Agent
of any Claim Certificate to give to the Escrow Agent and the Board or the Company,
as the case may be, written notice of a dispute ("Dispute Notice") with respect to such
Claim Certificate setting forth in reasonable detail the nature of the dispute.

(c)  Ifat the end of the 20-day period described in Section 5(b) the Escrow
Agent shall not have received a Dispute Notice with respect to any Claim Certificate,
such Claim Certificate shall constitute full authority to the Escrow Agent to proceed to
pay pursuant to the provisions of Section 6 the Losses specified in such Claim
Certificate; provided, however, that, if the Escrow Agent shall have received a
Dispute Notice, the Escrow Agent shall not pay any part of the Escrow Fund to the
indemnified party until notified of the resolution of the dispute pursuant to the
provisions of Section 8.

6. Payment of Claims

The Escrow Agent shall pay a Claim Certificate by transferring, delivering and
assigning to the Board or the Company, as the case may be, such number of shares of
the Escrowed Stock (rounded to the net highest whole share) that, when valued as set
forth in Section 7, shall have a value equal to the amount required to make or
complete such payment; provided, however, that the Board or the Company, as the
case may be, shall immediately pay in cash to the Escrow Fund any amounts in excess
of the Claim Certificate that may occur due to the requirement that only whole shares
of the Escrowed Stock may be transferred.

7. Valuation

The Escrowed Stock shall be valued as follows: at (a) the average of the
closing prices for the Escrowed Stock on any national securities exchange on which

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Case 2:01-cv-01528-MJP Document 194 Filed 06/23/03 Page 10 of 84

such stock is listed (or, if listed on more than one such exchange, then on the one
located in New York); (b) the average of the closing prices reported on the Nasdaq
National Market; (c) the average of the bid and asked prices reported on the Nasdaq
Stock Market; (d) or the average of the bid and asked prices appearing on the "pink
sheets" of the National Quotation Bureau, Inc. All averages shall be computed for the

30 trading days immediately preceding the date of the Claim Certificate.

8. Dispute Resolution

Any dispute with respect to any Claim Certificate or any other provision of this

Agreement shall be resolved as follows:

(a) | The disputing parties shall first attempt to settle the dispute. Any
settlement shall be reflected in writing and delivered to the Escrow Agent. The

Escrow Agent shall act according to such written settlement agreement.

(b) — If within 30 days of when the Dispute Notice was delivered to the
Escrow Agent the disputing parties have not arrived at a settlement agreement, the

dispute shall be submitted to arbitration as follows:

(i) the Board shall select one arbitrator, Mr. Jain shall select one
arbitrator (who shall be acceptable to holders of a majority of the Escrowed Stock),

and the Board and Mr. Jain together shall select a third arbitrator;

(ii) The arbitration shall then be resolved in accordance with the

Commercial Arbitration Rules of the American Arbitration Association;

(iii) | Judgment may be rendered upon the award determined by the

arbitrators in any court having jurisdiction thereof;

(iv) Should an injunction be sought, the amount of any bond required

shall not exceed $500; and

(v) Within ten days of receiving notice of an arbitration award,
unless restrained by court order, the Escrow Agent shall act according to the mandate

of such arbitration award.

9, Termination

(a) The escrow provided for herein shall terminate five years after the date

hereof (the "Termination Date")

INDEMNIFICATION AGREEMENT
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(b) Notwithstanding the provisions of (a) and (c) of this Section 9, if the
Board or the Company shall in good faith, prior to the Termination Date, have filed
with the Escrow Agent and Mr. Jain a certificate signed by a member of the Board or
an officer of the Company to the effect that an item of Losses (the maximum amount
of which shall be specified in good faith in such certificate) has been incurred by or
asserted against the Board or the Company, in respect of the settlement or discharge of
which the Board or the Company would be entitled to receive a payment under this
Agreement, and that the existence or the amount of such Losses remains
undetermined, then the Escrow Agent shall withhold from distribution that would
otherwise be made pursuant to Section 9{c) a number of shares of Escrowed Stock
that, when valued as provided in Section 7, shall have a value equal to the maximum
amount of such item of Losses as set forth in such certificate, and shall distribute the
remainder of the Escrow Fund deliverable under Section 9(c) to Mr. Jain.

(c) | Upon the termination of the escrow as aforesaid, the Escrow Agent shall
disburse and Mr. Jain shall be entitled to receive that portion of the Escrow Fund as to
which the escrow shall have so terminated. Any delivery of shares of Escrowed Stock
pursuant to this Section 9(c) shall be of full shares, and the Escrow Agent shall sell the
number of shares of Escrowed Stock that shall equal the aggregate of all fractions to
which Mr. Jain would otherwise be entitled. Promptly after the resolution of any item
of Losses that was asserted but not resolved by the Termination Date, the Escrow
Agent shall deliver to the Board or the Company, as the case may be, such portion of
the Escrow Fund to which it is entitled and shall deliver the balance of the Escrow
Fund to Mr. Jain.

10. Notices

Unless written designation of a different address is filed with each of the other
parties hereto, all notices required to be given under this Agreement shall be deemed.
to have been properly given if mailed by registered mail, addressed as follows:

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the Board or the Company:

with a copy to:

Perkins Coie LLP

1201 Third Ave., 40th Floor
Seattle, WA 98101-3099
Fax: (206) 583-8500
Attention: Stephen Graham

Naveen Jain:

with a copy to:

Escrow Agent:

11. Duties and Liability of Escrow Agent

The Escrow Agent may act on any instrument or other writing believed by the
Escrow Agent to be genuine and to be signed or presented by the proper person and
shall not be liable in connection with the performance by the Escrow Agent of its
duties pursuant to the provisions of this Agreement, except for its own willful default
or gross negligence. The Escrow Agent shall be, and hereby is, jointly and severally
indemnified and saved harmless, by the parties hereto, from all losses, costs and
expenses that may be incurred by it as a result of its involvement in any litigation
arising from performance of its duties hereunder, provided that such litigation shall
not result from any action taken or omitted by the Escrow Agent and for which it shall
have been adjudged negligent.

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12. Successors

This Agreement and all action taken hereunder in accordance with its terms
shall be binding on and inure to the benefit of the Board, the Company and the Escrow
Agent and their respective successors and assigns, and Mr. Jain and their respective
successors, assigns, heirs, executors, administrators and legal representatives.

13. Substitution of Escrow Agent

The Escrow Agent, or any successor to it hereafter appointed, may at any time
resign by giving notice in writing to the Board, the Company and Mr. Jain and shall be
discharged of its duties hereunder upon the appointment of a successor Escrow Agent
as hereinafter provided. In the event of any such resignation, a successor Escrow
Agent, who shall be a shall be appointed by the Board. Any such successor Escrow
Agent shall deliver to the Board, the Company and Mr. Jain a written instrument
accepting such appointment hereunder, and thereupon it shall succeed to all the rights
and duties of the Escrow Agent hereunder.

14, Appointment of Escrow Agent

the Board, the Company and Mr. Jain hereby appoint as the
Escrow Agent to serve in accordance with the terms of this Agreement, and
hereby agrees to act as Escrow Agent under this Agreement.

15. Fee of Escrow Agent

The Company shall pay the fees of the Escrow Agent serving under this
Agreement.

16. Entire Agreement

This Agreement is the entire agreement of the parties regarding its subject
matter and supersedes all prior written or oral communications or agreements.

17. Severability

The provisions of this Agreement shall be severable. If this Agreement or any
portion shall be invalidated on any ground by any court of competent jurisdiction, then
the remainder of this Agreement shall not be affected thereby and shall be given full
force and effect and remain binding upon the parties.

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18. Governing Law

This Agreement and the rights and obligations of the parties shall be governed
by and construed in accordance with the laws of the state of Washington, without
giving effect to principles of conflicts of law.

19, Counterparts

This Agreement may be executed in one or more counterparts, each of which
shall be deemed an original, but all of which together shall constitute one instrument.

20. Amendments; Waivers; Addition of New Board Members

(a) Neither this Agreement nor any provision may be amended except by
written agreement signed by the parties. No waiver of any breach or default shall be
considered valid unless in writing, and no such waiver shall be deemed a waiver of
any subsequent breach or default.

(b) Notwithstanding the foregoing, this Agreement shall be deemed
automatically amended to include as a party and a member of the Board each
additional director elected or appointed to the Company's board of directors.

21. Successors and Assigns

This Agreement shal! be binding upon Mr. Jain and his successors and assigns,
and inure to the benefit of the Board and the Company and their heirs, legal
representatives and assigns.

(Signature page follows)

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IN WITNESS WHEREOF, the parties hereto have executed this Agreement on
and as of the day and year first above written.

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EXHIBIT 2

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Indemnification Agreement

This Indemnification Agreement (this "Agreement") dated as of December __,
1998 is made between Naveen Jain ("Mr. Jain"), InfoSpace.com, Inc., a Delaware
corporation (the "Cempany") and; all the current and future members of the
Company's board of directors (excluding Mr. Jain) (the "Beard")-and
——__--—_—_—__§_ttheEserew-Agent’). Collectively, the Company and the members

of the Board shall be referred to herein as the “indemnified parties”.

RECITAL

To induce the Company's current and future directors to accept the position of,
or to continue to serve as, directors of the Company, Mr. Jain has agreed to indemnify
the Board and the Company against certain losses.

AGREEMENT
14. Indemnification of the Company and the Board

(a) Mr. Jain agrees to hold harmless and indemnify the Company and the
Board from and against all losses, liabilities, damages or expenses incurred by the
Company or the Board;ineliding reasonable fees-and expenses-ofceounsel that result
from any obligation or Jiability arising out of or in connection with_cach of the
following (collectively, the “Losses”):

(i) the hiring or termination of any employee or consultant of the
Company on or before September 30, 1998:

(11) any commercial contract of the Company entered into on or
before September 30, 1998 (including but not limited to contracts
with vendors, suppliers, content providers, affiliates, licensees
and licensors);

(iii) _ the issuance of the Company’s common stock (“Shares’’) or
options to acquire Shares occurring on or before September 30,

1998, except for such issuances involving, in the aggregate,
15,000 or fewer Shares:

(iv) _ any Shares or options to acquire Shares issued in connection with
claims made by Mark Kaleem (other than the first 500,000 Shares
or options to acquire Shares issued to Mark Kaleem),

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(v) any act of fraud by Mr. Jain occuring on or before September 30,

1998.

(b)_ . &}—Notwithstanding the foregoing, the indemnification provided
hereby shall be unavailable for any obligation or liability of the
Company that is specifically reflected or reserved against in the
Company's financial statements for the fiscal years ended 1996, 1997
and the nine-month period ended September 30, 1998, which are
attached hereto as Exhibit A_(other than obligations or liabilities related

to claims made by Mark Kaleem or G. Kent Plunkett).-etherthan-these

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2. Limitations

(a) Claims for indemnification made under this Agreement may be made
only during the period from the date hereof until five years after the date hereof.

(b) No indemnified party shall be entitled to receive any indemnification
payment with respect to claims for indemnification made under Section 1, until
aggregate Losses that all indemnified parties would be otherwise entitled to receive as
indemnification exceed $100,000 (the "Threshold"); provided, however, that once
such aggregate Losses exceed the Threshold, such party shall be entitled to receive
indemnification payment for the aggregate Losses that they would be entitled to
receive without regard to the Threshold.

(c) The maximum aggregate amount that the indemnified party shall be
entitled to under Section | is the Escrowed Stock (as defined below).

3. Procedure

(a) Any Indemnified party hereto seeking indemnification hereunder shall
notify Mr. Jain in writing reasonably promptly after the assertion against the
indemnified party of any claim by a third party or a derivative claim (a "Third-Party
Claim") in respect of which the indemnified party intends to base a claim for
indemnification hereunder, but the failure or delay to sose+e notify Mr. Jain shall not |

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relieve it of any obligation or hability that it may have to the indemnified party except
to the extent that Mr. Jain demonstrates that its ability to defend or resolve such Third
Party Claim is adversely affected thereby.

(b) (i) Mr. Jain shalt have the right, upon written notice given to the
indemnified party within 30 days after receipt of the notice from the indemnified party
of any Third Party Claim, to assume the defense or handling of such Third Party
Claim, at Mr. Jain's sole expense, in which case the provisions of Section 3(b)(11)
below shall govern. (11) Mr. Jain shall select counsel reasonably acceptable to the
indemnified party in connection with conducting the defense or handling of such
Third Party Claim, and Mr. Jain shall defend or handle the same in consultation with
the indemnified party, and shall keep the indemnified party timely apprised of the
status of such Third Party Claim, and shall not, without the prior written consent of
the indemnified party, directly or indirectly assume any position or take any action that
would impose any obligation of any kind on or restrict the actions of the indemnified
party. Mr. Jain shall not, without the prior written consent of the indemnified party,
which consent shall not be unreasonably withheld, agree to a settlement of any Third
Party Claim that could directly or indirectly lead to liability or create any financial or
other obligation on the part of the indemnified party for which the indemnified party is
not entitled to indemnification hereunder. The indemnified party shall cooperate with
Mr. Jain and shall be entitled to participate in the defense or handling of such Third
Party Claim with its own counsel and at its own expense. Notwithstanding the
foregoing, in the event Mr. Jain fails to conduct the defense or handling of any Third
Party Claim in good faith after having assumed such defense or handling, then the
provisions of Section 3(c)(11) below shall govern.

(c) (i) If Mr. Jain does not give written notice to the indemnified party,
within 30 days after receipt of the notice from the indemnified party of any Third
Party Claim, of Mr. Jain's election to assume the defense or handling of such Third
Party Claim, the provisions of Section 3(c)(Gi) below shall govern. (ii) The
indemnified party may-atMr—ain's-expense_ select counsel in connection with
conducting the defense or handling of such Third Party Claim and defend or handle
such Third Party Claim in such manner as it may deem appropriate, provided,
however, that the indemnified party shall keep Mr. Jain timely apprised of the status
of such Third Party Claim. If the indemnified party defends or handles such Third
Party Claim, Mr. Jain shall cooperate with the indemnified party and shall be entitled
to participate in the defense or handling of such Third Party Claim with its own
counsel and at its own expense._If the indemnified party is not the prevailing party in
such Third Party Claim, then Mr. Jain shall pay all reasonable fees and expenses of
counsel incurred by the indemnified party in connection with the defense and handling
of such Third Party Claim. In the event such Third Party Claim is setiled by the

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indemnified party, Mr. Jain shall pay the fees and expenses of counsel incurred by the
indemnified party but only if the amount of such settlement is over $50,000.

(d) Ifthe indemnified party intends to seck indemnification hereunder, other
than for a Third Party Claim, then it shall notify Mr. Jain in writing within six months
after its discovery of facts upon which it intends to base its Claim for indemnification
hereunder, but the failure or delay so to notify Mr. Jain shall not relieve Mr. Jain of
any obligation or liability that Mr. Jain may have to the indemnified party except to
the extent that Mr. Jain demonstrates that Mr. Jain's ability to defend or resolve such
Claim is adversely affected thereby.

4. Establishment of Escrow Fund

{a) On the date hereof, Mr. Jain shall deliver to the Escrow Agent
certificates representing 1,000,000 shares of the Company's Common Stock (the
"Escrowed Stock"), along with an assignment separate from such certificate properly
endorsed for assignment in blank. The Escrowed Stock and ail cash obtained by the
Escrow Agent hereunder shall be referred to as the "Escrow Fund".

(b) Mr. Jain will have all rights to the Escrowed Stock, including, without
limitation, the right to vote the Escrowed Stock and the right to receive cash dividends
in respect of the Escrowed Stock; provided, however, that, until this Agreement is
terminated pursuant to Section 89, the Escrow Agent shall have (1) the right to possess |
the Escrowed Stock and (11) the right to receive securities or other property in
exchange therefor or in respect thereof or dividends (other than cash dividends) or
other distributions thereon or with respect thereto.

(c} Mr. Jain will have the right to sell the Escrowed Stock, provided that all.
the proceeds of such sale remain part of the Escrow Fund and available for payment
to an indemnified party pursuant to Section 6 until this Agreement is terminated
pursuant to Section 89. Any such sale shall be made only through a brokers’ |
transaction on the open market for cash consideration.

5. Claims on Escrow Fund

(a} If the indemnified party shall incur Losses, it shall within ten days of
learning of facts giving rise to the claim for Losses deliver to the Escrow Agent and
Mr. Jain a certificate (a "Claim Certificate") signed by a member of the Board or an
officer of the Company stating that one or more members of the Board and/or
Company has incurred the Losses specified in such Claim Certificate and setting forth
in reasonable detail the facts giving rise to the claim and the basis for the claim.

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(b) = Mr. Jain shall have 20 business days after delivery to the Escrow Agent
of any Claim Certificate to give to the Escrow Agent and the Board or the Company,
as the case may be, written notice of a dispute ("Dispute Notice") with respect to such
Claim Certificate setting forth in reasonable detail the nature of the dispute.

(c) Ifat the end of the 20-day period described in Section 5(b) the Escrow
Agent shall not have received a Dispute Notice with respect to any Claim Certificate,
such Claim Certificate shall constitute full authority to the Escrow Agent to proceed to
pay pursuant to the provisions of Section 6 the Losses specified in such Claim
Certificate; provided, however, that, if the Escrow Agent shall have received a
Dispute Notice, the Escrow Agent shall not pay any part of the Escrow Fund to the
indemnified party until notified of the resolution of the dispute pursuant to the
provisions of Section 8.

6. Payment of Claims

The Escrow Agent shall pay a Claim Certificate in cash by selling such number
of shares of the Escrowed Stock that shall have a value equal to the amount stated in
the Claim Certificate. In the event that the Claim Certificate states a claim payable in
the Company’s Common Stock, the Escrow Agent shall pay such claim by
transferring, delivering and assigning to the Board or the Company, as the case may
be, such number of shares of the Escrowed Stock stated in the Claim
Certificate. (reunded+tothe net hichest-whele share} that- when valued a

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78. Dispute Resolution

Any dispute with respect to any Claim Certificate or any other provision of this
Agreement shall be resolved as follows:

(a) The disputing parties shall first attempt to settle the dispute. Any
settlement shall be reflected in writing and delivered to the Escrow Agent. The
Escrow Agent shall act according to such written settlement agreement.

(b) If within 30 days of when the Dispute Notice was delivered to the
Escrow Agent the disputing parties have not arrived at a settkement agreement, the
dispute shall be submitted to arbitration as follows:

(i) the Board shail select one arbitrator, Mr. Jain shall select one
arbitrator (who shall be acceptable to holders of a majority of the Escrowed Stock),
and the Board and Mr. Jain together shall select a third arbitrator;

(ii) ‘The arbitration shall then be resolved in accordance with the
Commercial Arbitration Rules of the American Arbitration Association;

(iii) | Judgment may be rendered upon the award determined by the
arbitrators in any court having jurisdiction thereof;

(iv) Should an injunction be sought, the amount of any bond required
shall not exceed $500; and

(v) Within ten days of receiving notice of an arbitration award,
unless restrained by court order, the Escrow Agent shall act according to the mandate
of such arbitration award.

89. Termination

(a) The escrow provided for herein shall terminate five years after the date
hereof (the "Termination Date")

(b) Notwithstanding the provisions of (a) and (c) of this Section 89, if the
Board or the Company shall in good faith, prior to the Termination Date, have filed
with the Escrow Agent and Mr. Jain a certificate signed by a member of the Board or
an officer of the Company to the effect that an item of Losses (the maximum amount
of which shall be specified in good faith in such certificate) has been incurred by or
asserted against the Board or the Company, in respect of the settlement or discharge of
which the Board or the Company would be entitled to receive a payment under this
Agreement, and that the existence or the amount of such Losses remains

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undetermined, then the Escrow Agent shall withhold from distribution that would
otherwise be made pursuant to Section 89(c) a number of shares of Escrowed Stock
that->when-valued-as-provided in Section shall have a value equal to the maximum
amount of such item of Losses as set forth in such certificate, and shall distribute the
remainder of the Escrow Fund deliverable under Section 89(c) to Mr. Jain. |

(c) Upon the termination of the escrow as aforesaid, the Escrow Agent shall
disburse and Mr. Jain shall be entitled to receive that portion of the Escrow Fund as to
which the escrow shall have so terminated. Any delivery of shares of Escrowed Stock
pursuant to this Section 89(c) shall be of full shares, and the Escrow Agent shall sell |
the number of shares of Escrowed Stock that shall equal the aggregate of al] fractions
to which Mr, Jain would otherwise be entitled. Promptly after the resolution of any
item of Losses that was asserted but not resolved by the Termination Date, the Escrow
Agent shall deliver to the Board or the Company, as the case may be, such portion of
the Escrow Fund to which it is entitled and shall deliver the balance of the Escrow
Fund to Mr. Jain.

949. Notices

Unless written designation of a different address is filed with each of the other
parties hereto, all notices required to be given under this Agreement shall be deemed
to have been properly given if mailed by registered mail, addressed as follows:

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the Board or the Company:

Mr. John E. Cunningham IV
5303 54" Avenue N.E.
Seattle, WA 98105

Fax: (206) 528-5668

with a copy to:

Perkins Coie LLP

1201 Third Ave., 40th Floor
Seattle, WA 98101-3099
Fax: (206) 583-8500
Attention: Stephen Graham

Naveen Jain:

InfoSpace.com. Inc.
15375 N.E. 90" Street
Redmond, WA_98052
Fax: (425) 882-0988

with a copy to:

Bruce Robertson

Garvey, Schubert & Bayer
1191 Second Avenue
Seattle, WA 98101

(206) 464-0125

Eserew-Agent:

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104, Duties and Liability of Escrow Agent

The Escrow Agent may act on any instrument or other writing believed by the
Escrow Agent to be genuine and to be signed or presented by the proper person and
shall not be liable in connection with the performance by the Escrow Agent of its
duties pursuant to the provisions of this Agreement, except for its own willful default
or gross negligence. The Escrow Agent shall be, and hereby is, jointly and severally
imdemmified and saved harmless, by the parties hereto, from all losses, costs and
expenses that may be incurred by it as a result of its involvement in any litigation
arising from performance of its duties hereunder, provided that such litigation shall
not result from any action taken or omitted by the Escrow Agent and for which it shall
have been adjudged negligent.

121. Successors

This Agreement and all action taken hereunder in accordance with its terms
shall be binding on and inure to the benefit of the Board, the Company and the Escrow
Agent and their respective successors and assigns, and Mr. Jain and their respective
successors, assigns, heirs, executors, administrators and legal representatives.

123. Substitution of Escrow Agent

The Escrow Agent, or any successor to it hereafter appointed, may at any time
resign by giving notice in writing to the Board, the Company and Mr. Jain and shall be
discharged of its duties hereunder upon the appointment of a successor Escrow Agent
as hereinafter provided. In the event of any such resignation, a successor Escrow
Agent, who shall be a shal) be appointed by the Board. Any such successor Escrow
Agent shall deliver to the Board, the Company and Mr. Jain a written instrument
accepting such appointment hereunder, and thereupon it shall succeed to all the rights
and duties of the Escrow Agent hereunder.

134. Appointment of Escrow Agent

Tthe Board, the Company and Mr. Jain hereby appoint the
Company as the Escrow Agent to serve in accordance with the terms of this
Agreement for the period beginning on the date hereof and ending six months from
the date hereof, during which period the Company. the Board and Mr. Jain shall
conduct a good faith search to find a successor Escrow Agent that is mutually
agreeable to all the parties. -and- The Company hereby agrees to act as
Escrow Agent under this Agreement.

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145. Fee of Escrow Agent |

The Company shall pay the fees of the Escrow Agent serving under this
Agreement.

156. Entire Agreement |

This Agreement is the entire agreement of the parties regarding its subject
matter and supersedes all prior written or oral communications or agreements.

167. Severability |

The provisions of this Agreement shall be severable. If this Agreement or any
portion shall be invalidated on any ground by any court of competent jurisdiction, then
the remainder of this Agreement shall not be affected thereby and shall be given full
force and effect and remain binding upon the parties.

178. Governing Law |

This Agreement and the rights and obligations of the parties shall be governed
by and construed in accordance with the laws of the state of Washington, without
giving effect to principles of conflicts of law.

189. Counterparts |

This Agreement may be executed in one or more counterparts, each of which
shall be deemed an original, but all of which together shall constitute one instrument.

1926. Amendments; Waivers; Addition of New Board Members |

(a) Neither this Agreement nor any provision may be amended except by
written agreement signed by the parties. No waiver of any breach or default shall be
considered valid unless in writing, and no such waiver shall be deemed a waiver of
any subsequent breach or default.

(b) Notwithstanding the foregoing, this Agreement shall be deemed
automatically amended to include as a party and a member of the Board each
additional director elected or appointed to the Company's board of directors.

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204. Successors and Assigns

This Agreement shall be binding upon Mr. Jain and his successors and assigns,
and inure to the benefit of the Board and the Company and their heirs, legal
representatives and assigns.

(Signature page follows)

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IN WITNESS WHEREOF, the parties hereto have executed this Agreement on
and as of the day and year first above written.

INFOSPACE.COM, INC.

NAVEEN JAIN

THE BOARD:

PETER CURRIE

GARY _ LIST

CARL STORK

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JOHN E. CUNNINGHAM, IV.

BERNEE D. L. STROM

RUFUS W. LUMRY

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EXHIBIT 3

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Indemnification Agreement

This Indemnification Agreement (this "Agreement") dated as of December
1i—. 1998 is made between Naveen Jain ("Mr. Jain"), InfoSpace.com, Inc., a
Delaware corporation (the "Company") and all the current and future members of the
Company's board of directors (excluding Mr. Jain) (the Board"), Collectively, the
Company and the members of the Board shall be referred to herein as the
“indemnified parties”.

RECITAL

To induce the Company's current and future directors to accept the position of,
or to continue to serve as, directors of the Company, Mr. Jain has agreed to indemnify
the Board and the Company against certain losses.

AGREEMENT
14. Indemnification of the Company and the Board

(a) Mr. Jain agrees to hold harmless and indemnify the Company and the
Board from and against all losses, liabilities, damages or expenses incurred by the
Company or the Board that result from any obligation or liability arising out of or in
connection with each of the following (collectively, the “Losses”):

(i) the hiring or termination of any employee or consultant of the
Company on or before September 30, 1998;

(ii) | any commercial contract of the Company entered into on or
before September 30, 1998 (including but not limited to contracts
with vendors, suppliers, content providers, affiliates, licensees
and licensors); provided, however, that this Section shall not
apply to any ordinary-course-of-business dispute arising out of
any written commerical contract that was disclosed in the
corporate records delivered to the Company’s general outside
counsel prior to September 30, 1998, unless such dispute relates
to the oral modification or termmation of such commercial
contract;

(iii) the issuance of the Company’s common stock (“Shares”) or
options to acquire Shares as the result of claims or potential
claims not known to the Board prior to September 30, 1998,

INDEMNIFICATION AGREEMENT
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except for such issuance’s involving, in the aggregate, 20,000 or
fewer Shares;

(iv) the issuance of Shares or options to acquire Shares as the result
of claims or potential claims, known to the Board on September |
30, 1998, to the extent any such issuance in the aggregate
involves the issuance of more than 500,000 shares;

(v) any act of fraud by Mr. Jain occurring on or before September 30,
1998; and

(vi) any claim, or potential claim, known to Mr. Jain on the date of
this Agreement and not disclosed to the Board on or prior to the
date of this Agreement.

(b) Notwithstanding the foregoing, the indemnification provided hereby
shall be unavailable for any obligation or liability of the Company (other
than any obligation or liability set forth in sSection 1-(a)-(iv) above) (i) |
that is specifically reflected or reserved against in the Company's
financial statements for the fiscal years ended 1996, 1997 and the nine-
month period ended September 30, 1998, or (ii) that waswere- disclosed |
in the corporate records delivered to the Company's general outside
counsel prior to September 30, 1998.

2. Limitations

(a) Claims for indemnification made under this Agreement may be made
only during the period from the date hereof until five years after the date hereof.

(b) No indemnified party shall be entitled to receive any indemnification
payment with respect to claims for indemnification made under Section 1, until
aggregate Losses that all indemnified parties would be otherwise entitled to receive as
indemnification exceed $100,000 (the "Threshold"); provided, however, that once
such aggregate Losses exceed the Threshold, such party shall be entitled to receive
indemnification payment for the aggregate Losses that they would be entitled to
receive without regard to the Threshold.

(c) The maximum aggregate amount that the indemnified partiesy shall be
entitled to under Section | is the Escrowed Stock (as defined below).

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3. Procedure

(a} Any indemnified party hereto seeking indemnification hereunder shall
notify Mr. Jain in writing reasonably promptly after the assertion against the
indemnified party of any claim by a third party or a derivative claim (a "Third-Party
Claim") in respect of which the indemnified party intends to base a claim for
indemnification hereunder, but the failure or delay to so notify Mr. Jain shall not
relieve himit-of any obligation or liability that he#may have to the indemnified party
except to the extent that Mr. Jain demonstrates that hisits ability to defend or resolve
such Third Party Claim is adversely affected thereby.

(b) (i) Mr. Jain shall have the right, upon written notice given to the
indemnified party within 30 days after receipt of the notice from the indemnified party
of any Third Party Claim, to assume the defense or handling of such Third Party
Claim, at Mr. Jain's sole expense, in which case the provisions of Section 3(b)(ii)
below shall govern. (11) Mr. Jain shali select counsel reasonably acceptable to the
indemnified party in connection with conducting the defense or handling of such
Third Party Claim, and Mr. Jain shall defend or handle the same in consultation with
the indemnified party, and shall keep the indemnified party timely apprised of the
status of such Third Party Claim, and shall not, without the prior written consent of
the indemnified party, directly or indirectly assume any position or take any action that
would impose any obligation of any kind on or restrict the actions of the indemnified
party. Mr. Jain shall not, without the prior written consent of the indemnified party,
which consent shall not be unreasonably withheld, agree to a settlement of any Third
Party Claim that could directly or indirectly lead to liability or create any financial or
other obligation on the part of the indemnified party for which the indemnified party is
not entitled to indemnification hereunder. The indemnified party shall cooperate with
Mr. Jain and shall be entitled to participate in the defense or handling of such Third
Party Claim with its own counsel and at its own expense. Notwithstanding the
foregoing, in the event Mr. Jain fails to conduct the defense or handling of any Third
Party Claim in good faith after having assumed such defense or handling, then the
provisions of Section 3(c){ii} below shall govern.

(c) i) If Mr. Jain does not give written notice to the indemnified party,
within 30 days after receipt of the notice from the indemnified party of any Third
Party Claim, of Mr, Jain's election to assume the defense or handling of such Third
Party Claim, the provisions of Section 3(c){ii) below shall govern. (ii) The
indemnified party may select counsel in connection with conducting the defense or
handling of such Third Party Claim and defend or handle such Third Party Claim in
such manner as it may deem appropriate, provided, however, that the indemnified
party shall keep Mr. Jain timely apprised of the status of such Third Party Claim. If

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the indemnified party defends or handles such Third Party Claim, Mr. Jain shall
cooperate with the indemnified party and shall be entitled to participate in the defense
or handling of such Third Party Claim with hisits own counsel and at his#ts own |
expense. If the indemnified party is not the prevailing party in such Third Party

Claim, then Mr. Jain shall pay all reasonable fees and expenses of counsel incurred by
the indemnified party in connection with the defense and handling of such Third Party
Claim. In the event such Third Party Claim is settled by the indemnified party, Mr.

Jain shall pay the fees and expenses of counsel incurred by the indemnified party but
only if the amount of such settlement is over $50,000.

(d) Ifthe indemnified party intends to seek indemnification hereunder, other
than for a Third Party Claim, then it shall notify Mr. Jain in writing within six months
after its discovery of facts upon which it intends to base its Claim for indemnification
hereunder, but the failure or delay so to notify Mr. Jain shall not relieve Mr. Jain of
any obligation or hability that Mr. Jain may have to the indemnified party except to
the extent that Mr. Jain demonstrates that Mr. Jain's ability to defend or resolve such
Claim is adversely affected thereby.

4, Establishment of Escrow Fund

(a) On the date hereof, Mr. Jain shal] deliver to the Escrow Agent
certificates representing 1,000,000 shares of the Company's Common Stock (the
"Escrowed Stock"), along with an assignment separate from such certificate properly
endorsed for assignment in blank. The Escrowed Stock and all cash obtained by the
Escrow Agent hereunder shall be referred to as the "Escrow Fund".

(b) = Mr. Jain will have all rights to the Escrowed Stock, including, without
limitation, the right to vote the Escrowed Stock and the right to receive cash dividends
in respect of the Escrowed Stock; provided, however, that, until this Agreement is
terminated pursuant to Section 8, the Escrow Agent shall have (i) the right to possess
the Escrowed Stock and (ii) the right to receive securities or other property in
exchange therefor or in respect thereof or dividends (other than cash dividends) or
other distributions thereon or with respect thereto.

(c) Mr. Jain will have the night to sell the Escrowed Stock, provided that all
the proceeds of such sale remain part of the Escrow Fund and available for payment
to an indemnified party pursuant to Section 6 until this Agreement is terminated
pursuant to Section 8. Any such sale shall be made only through a brokers’
transaction on the open market for cash consideration._Mr. Jain shall be entitled to
invest the proceeds of such sale in a manner consistent with the Company’s
investment policy as established by the Board, and to the extent that the face amount

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of such investment plus accrued interest exceeds the consideration received for the
Escrowed Stock sold by Mr, Jain, such excess funds may be withdrawn by Mr. Jain.

5. Claims on Escrow Fund

(a) If the indemnified party shall incur Losses, it shall within ten days of
learning of facts giving rise to the claim for Losses deliver to the Escrow Agent and
Mr. Jain a certificate (a "Claim Certificate") signed by a member of the Board or an
officer of the Company stating that one or more members of the Board and/or
Company has incurred the Losses specified in such Claim Certificate and setting forth
in reasonable detail the facts giving rise to the claim and the basis for the claim.

(b) Mr. Jain shall have 20 business days after delivery to the Escrow Agent
of any Claim Certificate to give to the Escrow Agent and the Board or the Company,
as the case may be, written notice of a dispute ("Dispute Notice") with respect to such
Claim Certificate setting forth in reasonable detail the nature of the dispute.

(c) Ifat the end of the 20-day period described in Section 5{b) the Escrow
Agent shall not have received a Dispute Notice with respect to any Claim Certificate,
such Claim Certificate shall constitute full authority to the Escrow Agent to proceed to
pay pursuant to the provisions of Section 6 the Losses specified in such Claim
Certificate; provided, however, that, if the Escrow Agent shal] have received a
Dispute Notice, the Escrow Agent shall not pay any part of the Escrow Fund to the
indemnified party until notified of the resolution of the dispute pursuant to the
provisions of Section 8.

6. Payment of Claims

The Escrow Agent shall pay a Claim Certificate in cash by selling such number
of shares of the Escrowed Stock that shall have a value equal to the amount stated in
the Claim Certificate. In the event that the Claim Certificate states a claim payable in
the Company’s Common Stock, the Escrow Agent shall pay such claim by
transferring, delivering and assigning to the Board or the Company, as the case may
be, such number of shares of the Escrowed Stock stated in the Claim Certificate.

7. Dispute Resolution

Any dispute with respect to any Claim Certificate or any other provision of this
Agreement shall be resolved as follows:

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(a) ‘The disputing parties shall first attempt to settle the dispute. Any
settlement shall be reflected in writing and delivered to the Escrow Agent. The
Escrow Agent shall act according to such written settlement agreement.

(b) If within 30 days of when the Dispute Notice was delivered to the
Escrow Agent the disputing parties have not arrived at a settlement agreement, the
dispute shall be submitted to arbitration as follows:

(i) the Board shall select one arbitrator, Mr. Jain shall select one
arbitrator and the Board and Mr. Jain together shall select a third arbitrator;

(ii) | The arbitration shall then be resolved in accordance with the
Commercial Arbitration Rules of the American Arbitration Association;

(iii) Judgment may be rendered upon the award determined by the
arbitrators in any court having jurisdiction thereof;

(iv) Should an injunction be sought, the amount of any bond required
shall not exceed $500; and

(v) Within ten days of receiving notice of an arbitration award,
unless restrained by court order, the Escrow Agent shall act according to the mandate
of such arbitration award.

8. Termination

(a) The escrow provided for herein shall terminate five years after the date
hereof (the "Yermination Date")

(b) Notwithstanding the provisions of (a) and (c) of this Section 8, if the
Board or the Company shall in good faith, prior to the Termination Date, have filed
with the Escrow Agent and Mr. Jain a certificate signed by a member of the Board _-cr
(on behalf of the entire Board) an-efficer-ofthe Companyto the effect that an item of
Losses (the maximum amount of which shall be specified in good faith in such
certificate) has been incurred by or asserted against the Board or the Company, in
respect of the settlement or discharge of which the Board or the Company would be
entitled to receive a payment under this Agreement, and that the existence or the
amount of such Losses remains undetermined, then the Escrow Agent shall withhold
from distribution that would otherwise be made pursuant to Section 8(c) a number of
shares of Escrowed Stock that shall have a value equal to the maximum amount of
such item of Losses as set forth in such certificate, and shall distribute the remainder
of the Escrow Fund deliverable under Section 8(c) to Mr. Jain.

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(c) | Upon the termination of the escrow as aforesaid, the Escrow Agent shall
disburse and Mr. Jain shall be entitled to receive that portion of the Escrow Fund as to
which the escrow shall have so terminated. Any delivery of shares of Escrowed Stock
pursuant to this Section 8(c) shall be of full shares, and the Escrow Agent shall sell the
number of shares of Escrowed Stock that shall equal the aggregate of all fractions to
which Mr. Jain would otherwise be entitled. Promptly after the resolution of any item
of Losses that was asserted but not resolved by the Termination Date, the Escrow
Agent shall deliver to the Board or the Company, as the case may be, such portion of
the Escrow Fund to which it is entitled and shall deliver the balance of the Escrow
Fund to Mr. Jain.

9, Notices

Unless written designation of a different address is filed with each of the other
parties hereto, all notices required to be given under this Agreement shall be deemed
to have been properly given if mailed by registered mail, addressed as follows:

INDEMNIFICATION AGREEMENT
[28096-0100/SR983440,.DOCSB983440.344] -7- 6/20/03424H 08

the Board or the Company:

Mr. John E, Cunningham IV
c/o Perkins Coie LLP

1201 Third Avenue, 40" Floor
Seattle, WA_ 98101-3099
Fax: (206) 583-8500
Attention: Stephen Graham
5303-54" Avenue NE.
Seattle -WA98105
Fax-{206}528-5668

with a copy to:

Perkins Coie LLP

1201 Third Ave., 40th Floor
Seattle, WA 98101-3099
Fax: (206) 583-8500
Attention: Stephen Graham

Naveen Jain:

InfoSpace.com, Inc.
15375 N.E. 90" Street
Redmond, WA 98052
Fax: (425) 882-0988

with a copy to:

Bruce Robertson

Garvey, Schubert & Bareryer
1191 Second Avenue
Seattle, WA 98101

(206) 464-0125

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19. Duties and Liability of Escrow Agent

The Escrow Agent may act on any instrument or other writing believed by the
Escrow Agent to be genuine and to be signed or presented by the proper person and
shall not be liable in connection with the performance by the Escrow Agent of its
duties pursuant to the provisions of this Agreement, except for its own willful default
or gross negligence. The Escrow Agent shall be, and hereby is, jointly and severally
indemnified and saved harmless, by the parties hereto, from all losses, costs and
expenses that may be incurred by it as a result of its involvement in any litigation
arising from performance of its duties hereunder, provided that such litigation shall
not result from any action taken or omitted by the Escrow Agent and for which it shall
have been adjudged negligent.

11. Successors

This Agreement and all action taken hereunder in accordance with its terms
shall be binding on and inure to the benefit of the Board, the Company and the Escrow
Agent and their respective successors and assigns, and Mr. Jain and their respective
successors, assigns, heirs, executors, administrators and legal representatives.

12. Substitution of Escrow Agent

The Escrow Agent, or any successor to it hereafter appointed, may at any time
resign by giving notice in writing to the Board, the Company and Mr. Jain and shall be
discharged of its duties hereunder upon the appointment of a successor Escrow Agent
as hereinafter provided. In the event of any such resignation, a successor Escrow
Agent, who shall be a shall be appointed by the Board. Any such successor Escrow
Agent shall deliver to the Board, the Company and Mr. Jain a written instrument
accepting such appointment hereunder, and thereupon it shall succeed to all the rights
and duties of the Escrow Agent hereunder.

13. Appointment of Escrow Agent

The Board, the Company and Mr. Jain hereby appoint the Company as the
Escrow Agent to serve in accordance with the terms of this Agreement for the period
beginning on the date hereof and ending six months from the date hereof, during
which period the Company, the Board and Mr. Jain shall conduct a good faith search
to find a successor Escrow Agent that is mutually agreeable to all the parties. The
Company hereby agrees to act as Escrow Agent under this Agreement.

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14. Fee of Escrow Agent

The Company shall pay the fees of the Escrow Agent serving under this
Agreement, if any.

15. Entire Agreement

This Agreement is the entire agreement of the parties regarding its subject
matter and supersedes all prior written or oral communications or agreements.

16. Severability

The provisions of this Agreement shall be severable. If this Agreement or any
portion shall be invalidated on any ground by any court of competent jurisdiction, then
the remainder of this Agreement shall not be affected thereby and shail be given full
force and effect and remain binding upon the parties.

17. Governing Law

This Agreement and the rights and obligations of the parties shall be governed
by and construed in accordance with the laws of the state of Washington, without
giving effect to principles of conflicts of law.

18. Counterparts

This Agreement may be executed in one or more counterparts, each of which
shall be deemed an original, but all of which together shall constitute one instrument.

19. Amendments; Waivers; Addition of New Board Members

(a) Neither this Agreement nor any provision may be amended except by
written agreement signed by the parties. No waiver of any breach or default shall be
considered valid unless in writing, and no such waiver shall be deemed a waiver of
any subsequent breach or default.

(b) Notwithstanding the foregoing, this Agreement shall be deemed
automatically amended to include as a party and a member of the Board each
additional director elected or appointed to the Company's board of directors.

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20. Successors and Assigns

This Agreement shall be binding upon Mr. Jain and his successors and assigns,
and inure to the benefit of the Board and the Company and their heirs, legal
representatives and assigns.

(Signature page follows)

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[28096-0100/SR983440.DOCSB983440.314] ' -1i1- 6/20/034244198

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IN WITNESS WHEREOF, the parties hereto have executed this Agreement on
and as of the day and year first above written.

INFOSPACE.COM, INC.

NAVEEN JAIN

THE BOARD:

PETER CURRIE

GARY LIST

CARL STORK

INDEMNIFICATION AGREEMENT
[28096-0100/SB983440.DOCSB983440.314] -12- 6/20/034.24}41498

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JOHN E. CUNNINGHAM, IV.

BERNEE D. L. STROM

RUFUS W. LUMRY

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EXHIBIT 4

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Indemnification Agreement

This Indemnification Agreement (this "4greement") dated as of December 11,
1998 is made between Naveen Jain ("Mr. Jain"), InfoSpace.com, Inc., a Delaware
corporation (the "Company") and all the current and future members of the
Company's board of directors (excluding Mr. Jain) (the "Beard"). Collectively, the
Company and the members of the Board shall be referred to herein as the
“indemnified parties”.

RECITAL

To induce the Company's current and future directors to accept the position of,
or to continue to serve as, directors of the Company, Mr. Jain has agreed to indemnify
the Board and the Company against certain losses.

AGREEMENT

14. Indemnification of the Company and the Board

(a) Mr. Jain agrees to hold harmless and indemnify the Company and the
Board from and against all losses, liabilities, damages or expenses incurred by the
Company or the Board that result from any obligation or liability arising out of or in
connection with each of the following (collectively, the “Losses”):

(i) the hiring or termination of any employee or consultant of the
Company on or before September 30, 1998;

(ii) any commercial contract of the Company entered into on or
before September 30, 1998 (including but not limited to contracts
with vendors, suppliers, content providers, affiliates, licensees
and licensors); provided, however, that this Section shall not
apply to any ordinary-course-of-business dispute arising out of
any written commerical contract that was disclosed in the
corporate records delivered to the Company’s general outside
counsel prior to September 30, 1998, unless such dispute relates
to the oral modification or termination of such commercial
contract;

(iii) the issuance of the Company’s common stock (“Shares”) or
options to acquire Shares as the result of claims or potential
claims not known to the Board prior to September 30, 1998,

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[28096-0100/SB983440. DOCSR983440.214) -|- 6/19/034244 9812412108

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except for such issuances involving, in the aggregate, 20,000 or
fewer Shares;

(iv) the issuance of Shares or options to acquire Shares as the result
of claims or potential claims, known to the Board on September
30, 1998, to the extent any such issuance in the aggregate
involves the issuance of more than 500,000 shares;

(v) any act of fraud by Mr. Jain occurring on or before September 30,
1998: and

(vi) any claim, or potential claim, known to Mr. Jain on the date of
this Agreement and not disclosed to the Board on or prior to the
date of this Agreement.

(b) Notwithstanding the foregoing, the indemnification provided hereby
shall be unavailable for any obligation or liability of the Company (other
than any obligation or liability set forth in Section 1(a)(iv) above) (i)
that is specifically reflected or reserved against in the Company's
financial statements for the fiscal years ended 1996, 1997 and the nine-
month period ended September 30, 1998, or (ii) that was disclosed in
the corporate records delivered to the Company's general outside
counsel prior to September 30, 1998.

2. Limitations

(a) Claims for indemnification made under this Agreement may be made
only during the period from the date hereof until five years after the date hereof.

(b) No indemnified party shall be entitled to receive any indemnification
payment with respect to claims for indemnification made under Section 1, until
ageregate Losses that all indemnified parties would be otherwise entitled to receive as
indemnification exceed $100,000 (the " Threshold"); provided, however, that once
such aggregate Losses exceed the Threshold, such party shall be entitled to receive
indemnification payment for the aggregate Losses that they would be entitled to
receive without regard to the Threshold.

(c) The maximum aggregate amount that the indemnified parties shall be
entitled to under Section 1 is the Escrowed Steck Fund (as defined below). |

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3, Procedure

(a) Any indemnified party hereto seeking indemnification hereunder shall
notify Mr. Jain in writing reasonably promptly after the assertion against the
indemnified party of any claim by a third party or a derivative claim (a "Third-Party
Claim") in respect of which the indemnified party intends to base a claim for
indemnification hereunder, but the failure or delay to so notify Mr. Jain shall not
relieve himof any obligation or liability that hemay have to the indemnified party
except to the extent that Mr. Jain demonstrates that his ability to defend or resolve
such Third Party Claim is adversely affected thereby.

(b)  () Mr. Jain shall have the right, upon written notice given to the
indemnified party within 30 days after receipt of the notice from the indemnified party
of any Third Party Claim, to assume the defense or handling of such Third Party
Claim, at Mr. Jain's sole expense, in which case the provisions of Section 3(b)(i)
below shall govern. (1i} Mr. Jain shall select counsel reasonably acceptable to the
indemnified party in connection with conducting the defense or handling of such
Third Party Claim, and Mr. Jain shall defend or handle the same in consultation with
the indemnified party, and shall keep the indemnified party timely apprised of the
status of such Third Party Claim, and shall not, without the prior written consent of
the indemnified party, directly or indirectly assume any position or take any action that
would impose any obligation of any kind on or restrict the actions of the indemnified
party. Mr. Jain shali not, without the prior written consent of the indemnified party,
which consent shall not be unreasonably withheld, agree to a settlement of any Third
Party Claim that could directly or indirectly lead to liability or create any financial or
other obligation on the part of the indemnified party for which the indemnified party is
not entitled to indemnification hereunder. The indemnified party shall cooperate with
Mr. Jain and shall be entitled to participate in the defense or handling of such Third
Party Claim with its own counsel and at its own expense. Notwithstanding the
foregoing, in the event Mr. Jain fails to conduct the defense or handling of any Third
Party Claim in good faith after having assumed such defense or handling, then the
provisions of Section 3(c\(ii) below shall govern.

(c) Wi If Mr. Jain does not give written notice to the indemnified party,
within 30 days after receipt of the notice from the indemnified party of any Third
Party Claim, of Mr. Jain's election to assume the defense or handling of such Third
Party Claim, the provisions of Section 3(c)(ii) below shall govern. (ii} The
indemnified party may select counsel in connection with conducting the defense or
handling of such Third Party Claim and defend or handle such Third Party Claim in
such manner as it may deem appropriate, provided, however, that the indemnified
party shall keep Mr. Jain timely apprised of the status of such Third Party Claim. If

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the indemnified party defends or handles such Third Party Claim, Mr. Jain shall
cooperate with the indemnified party and shall be entitled to participate in the defense
or handling of such Third Party Claim with his own counsel and at his own expense.
If the indemnified party is not the prevailing party in such Third Party Claim, then Mr.
Jain shail pay all reasonable fees and expenses of counsel incurred by the indemnified
party in connection with the defense and handling of such Third Party Claim. In the
event such Third Party Claim is settled by the indemnified party, Mr. Jain shall pay the
fees and expenses of counsel incurred by the indemnified party but only if the amount
of such settlement is over $50,000.

(d) Ifthe indemnified party intends to seek indemnification hereunder, other
than for a Third Party Claim, then it shall notify Mr. Jain in writing within six months
after its discovery of facts upon which it intends to base its Claim for indemnification
hereunder, but the failure or delay so to notify Mr. Jain shall not relieve Mr. Jain of
any obligation or liability that Mr. Jain may have to the indemnified party except to
the extent that Mr. Jain demonstrates that Mr. Jain's ability to defend or resolve such
Claim is adversely affected thereby.

4, Establishment of Escrow Fund

(a) On the date hereof, Mr. Jain shall deliver to the Escrow Agent
certificates representing 1,000,000 shares of the Company's Common Stock (the
"Escrowed Stock"), along with an assignment separate from such certificate properly
endorsed for assignment in blank. The Escrowed Stock and all cash_or proceeds
obtained by the Escrow Agent hereunder (including, without limitation, proceeds from
the sale of the Escrowed Stock by the Escrow Agent or Mr. Jain under Section 4(c)
hereof) shall be referred to as the "Escrow Fund".

(b) = Mr. Jain will have all rights to the Escrowed Stock, including, without
limitation, the right to vote the Escrowed Stock and the right to receive cash dividends
in respect of the Escrowed Stock; provided, however, that, until this Agreement is
terminated pursuant to Section 8, the Escrow Agent shall have (i) the right to possess
the Escrowed Stock and (ii) the right to receive securities or other property in
exchange therefor or in respect thereof or dividends (other than cash dividends) or
other distributions thereon or with respect thereto.

(c) Mr. Jain will have the right to sell the Escrowed Stock, provided that all
the proceeds of such sale remain part of the Escrow Fund and available for payment
to an indemnified party pursuant to Section 6 until this Agreement is terminated
pursuant to Section 8. Any such sale shal] be made only through a brokers’
transaction on the open market for cash consideration. Mr. Jain shall be entitled to

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invest the proceeds of such sale in a manner consistent with the Company’s
investment policy as established by the Board, and to the extent that the face amount
of such investment plus accrued interest exceeds the consideration received for the
Escrowed Stock sold by Mr. Jain, such excess funds may be withdrawn by Mr. Jain.

5. Claims on Escrow Fund

(a) If the indemnified party shall incur Losses, it shall within ten days of
learning of facts giving rise to the claim for Losses deliver to the Escrow Agent and
Mr, Jain a certificate (a "Claim Certificate") signed by a member of the Board or an
officer of the Company stating that one or more members of the Board and/or
Company has incurred the Losses specified in such Claim Certificate and setting forth
in reasonable detail the facts giving rise to the claim and the basis for the claim.

(b) = Mr. Jain shall have 20 business days after delivery to the Escrow Agent
of any Claim Certificate to give to the Escrow Agent and the Board or the Company,
as the case may be, written notice of a dispute ("Dispute Notice") with respect to such
Claim Certificate setting forth in reasonable detail the nature of the dispute.

(c)  Ifat the end of the 20-day period described in Section 5{b) the Escrow
Agent shall not have received a Dispute Notice with respect to any Claim Certificate,
such Claim Certificate shall constitute full authority to the Escrow Agent to proceed to
pay pursuant to the provisions of Section 6 the Losses specified in such Claim
Certificate; provided, however, that, if the Escrow Agent shall have received a
Dispute Notice, the Escrow Agent shall not pay any part of the Escrow Fund to the
indemnified party until notified of the resolution of the dispute pursuant to the
provisions of Section 8.

6. Payment of Claims

The Escrow Agent shall pay a Claim Certificate in cash or by selling such
number of shares of the Escrowed Stock (or any proceeds or investment resulting from
the sale of the Escrowed Stock under Section 4(c) hereof) that shall have a value equal
to the amount stated in the Claim Certificate. In the event that the Claim Certificate
states a claim payable in the Company’s Common Stock, the Escrow Agent shall pay
such claim by transferring, delivering and assigning to the Board or the Company, as
the case may be, such number of shares of the Escrowed Stock stated in the Claim
Certificate.

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7. Dispute Resolution

Any dispute with respect to any Claim Certificate or any other provision of this
Agreement shall be resolved as follows:

(a) The disputing parties shall first attempt to settle the dispute. Any
settlement shall be reflected in writing and delivered to the Escrow Agent. The
Escrow Agent shall act according to such written settlement agreement.

(b) If within 30 days of when the Dispute Notice was delivered to the
Escrow Agent the disputing parties have not arrived at a settlement agreement, the
dispute shall be submitted to arbitration as follows:

(a) the Board shall select one arbitrator, Mr. Jain shall select one
arbitrator and the Board and Mr. Jain together shall select a third arbitrator;

(ii) | The arbitration shall then be resolved in accordance with the
Commercial Arbitration Rules of the American Arbitration Association;

(iii) | Judgment may be rendered upon the award determined by the
arbitrators in any court having jurisdiction thereof;

(iv) Should an injunction be sought, the amount of any bond required
shall not exceed $500; and

(v) Within ten days of receiving notice of an arbitration award,
unless restrained by court order, the Escrow Agent shall act according to the mandate
of such arbitration award.

8. Termination

(a) The escrow provided for herein shall terminate five years after the date
hereof (the "Termination Date")

(b) Notwithstanding the provisions of (a) and (c) of this Section 8, if the
Board or the Company shall in good faith, prior to the Termination Date, have filed
with the Escrow Agent and Mr. Jain a certificate signed by a member of the Board (on
behalf of the entire Board) to the effect that an item of Losses (the maximum amount
of which shall be specified in good faith in such certificate) has been incurred by or
asserted against the Board or the Company, in respect of the settlement or discharge of
which the Board or the Company would be entitled to receive a payment under this
Agreement, and that the existence or the amount of such Losses remains
undetermined, then the Escrow Agent shall withhold from distribution that would

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otherwise be made pursuant to Section 8(c) a number of shares of Escrowed Stock that
shall have a value equal to the maximum amount of such item of Losses as set forth in
such certificate, and shall distribute the remainder of the Escrow Fund deliverable
under Section 8(c) to Mr. Jain.

(c) | Upon the termination of the escrow as aforesaid, the Escrow Agent shall
disburse and Mr. Jain shall be entitled to receive that portion of the Escrow Fund as to
which the escrow shall have so terminated. Any delivery of shares of Escrowed Stock
pursuant to this Section 8(c) shall be of full shares, and the Escrow Agent shall sell the
number of shares of Escrowed Stock that shall equal the aggregate of all fractions to
which Mr. Jain would otherwise be entitled. Promptly after the resolution of any item
of Losses that was asserted but not resolved by the Termination Date, the Escrow
Agent shall deliver to the Board or the Company, as the case may be, such portion of
the Escrow Fund to which it is entitled and shall deliver the balance of the Escrow
Fund to Mr. Jain.

9, Notices

Unless written designation of a different address is filed with each of the other
parties hereto, all notices required to be given under this Agreement shall be deemed
to have been properly given if mailed by registered mail, addressed as follows:

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the Board or the Company:

Mr. John E. Cunningham IV
c/o Perkins Coie LLP

1201 Third Avenue, 40” Floor
Seattle, WA 98101-3099

Fax: (206) 583-8500
Attention: Stephen Graham

with a copy to:

Perkins Coie LLP

1201 Third Ave., 40th Floor
Seattle, WA 98101-3099
Fax: (206) 583-8500
Attention: Stephen Graham

Naveen Jain:

InfoSpace.com, Inc.
15375 N.E. 90" Street
Redmond, WA 98052
Fax: (425) 882-0988

with a copy to:

Bruce Robertson

Garvey, Schubert & Barer
1191 Second Avenue
Seattle, WA 98101

(206) 464-0125

10. Duties and Liability of Escrow Agent

The Escrow Agent may act on any instrument or other writing believed by the
Escrow Agent to be genuine and to be signed or presented by the proper person and
shall not be liable in connection with the performance by the Escrow Agent of its

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duties pursuant to the provisions of this Agreement, except for its own willful default
or gross negligence. The Escrow Agent shall be, and hereby is, jomtly and severally
indemnified and saved harmless, by the parties hereto, from all losses, costs and
expenses that may be incurred by it as a result of its involvement in any litigation
arising from performance of its duties hereunder, provided that such litigation shall
not result from any action taken or omitted by the Escrow Agent and for which it shall
have been adjudged negligent.

Tl. Successors

This Agreement and all action taken hereunder in accordance with its terms
shall be binding on and inure to the benefit of the Board, the Company and the Escrow
Agent and their respective successors and assigns, and Mr. Jain and their respective
successors, assigns, heirs, executors, administrators and legal representatives.

12. Substitution of Escrow Agent

The Escrow Agent, or any successor to it hereafter appointed, may at any time
resign by giving notice in writing to the Board, the Company and Mr. Jain and shall be
discharged of its duties hereunder upon the appointment of a successor Escrow Agent
as hereinafter provided. In the event of any such resignation, a successor Escrow
Agent, who shall be a shall be appointed by the Board. Any such successor Escrow
Agent shall deliver to the Board, the Company and Mr. Jain a written instrument
accepting such appointment hereunder, and thereupon it shall succeed to all the rights
and duties of the Escrow Agent hereunder.

13. Appointment of Escrow Agent

The Board, the Company and Mr. Jain hereby appoint the Company as the
Escrow Agent to serve in accordance with the terms of this Agreement for the period
beginning on the date hereof and ending six months from the date hereof, during
which period the Company, the Board and Mr, Jain shall conduct a good faith search
to find a successor Escrow Agent that is mutually agreeable to all the parties. The
Company hereby agrees to act as Escrow Agent under this Agreement.

14. Fee of Escrow Agent

The Company shall pay the fees of the Escrow Agent serving under this
Agreement, if any.

INDEMNIFICATION AGREEMENT
[28096-0100/§B983440. DOCSB983449.314] -9- 6/19/034244/98124208

Case 2:01-cv-01528-MJP Document 194 Filed 06/23/03 Page 54 of 84

18. Entire Agreement

This Agreement is the entire agreement of the parties regarding its subject
matter and supersedes all prior written or oral communications or agreements.

16. Severability

The provisions of this Agreement shall be severable. If this Agreement or any
portion shall be invalidated on any ground by any court of competent jurisdiction, then
the remainder of this Agreement shall not be affected thereby and shall be given full
force and effect and remain binding upon the parties.

17. Governing Law

This Agreement and the rights and obligations of the parties shall be governed
by and construed in accordance with the laws of the state of Washington, without
giving effect to principles of conflicts of law.

18. Counterparts

This Agreement may be executed in one or more counterparts, each of which
shall be deemed an original, but all of which together shall constitute one instrument.

19, Amendments; Waivers; Addition of New Board Members

(a) Neither this Agreement nor any provision may be amended except by
written agreement signed by the parties. No waiver of any breach or default shall be
considered valid unless in writing, and no such waiver shall be deemed a waiver of
any subsequent breach or default.

(b) Notwithstanding the foregoing, this Agreement shall be deemed
automatically amended to include as a party and a member of the Board each
additional director elected or appointed to the Company's board of directors.

20. Successors and Assigns

This Agreement shall be binding upon Mr. Jain and his successors and assigns,
and inure to the benefit of the Board and the Company and their heirs, legal
representatives and assigns.

(Signature page follows)

INDEMNIFICATION AGREEMENT
[28096-0100/SB983440, DOCSB983446.314] -10- 6/19/0344 OR 298

Case 2:01-cv-01528-MJP Document 194 Filed 06/23/03 Page 55 of 84

IN WITNESS WHEREOF, the parties hereto have executed this Agreement on
and as of the day and year first above written.

INFOSPACE.COM, INC.

NAVEEN JAIN

THE BOARD:

PETER CURRIE

GARY LIST

CARL STORK

INDEMNIFICATION AGREEMENT
[28096-0100/SB983440. DOCSB983449.314] -11- 6/19/03-RA4OS As.

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Case 2:01-cv-01528-MJP Document 194 Filed 06/23/03 Page 56 of 84

JOHN E. CUNNINGHAM, IV.

BERNEE D. L. STROM

RUFUS W. LUMRY

INDEMNIFICATION AGREEMENT
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EXHIBIT 5

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EXHIBIT 10.26

INDEMNIFICATION AGREEMENT

This Indemnification Agreement (this "AGREEMENT") dated as of December [1.
1998 is made between Naveen Jain ("MR. JAIN"), InfoSpace.com, Inc., a Delaware
Corporation {the “COMPANY") and all the current and future members of the
Company's board of directors (excluding Mr. Jain) (the "BOARD"}. Collectively,
the Company and the members of the Board shall be referred to herein as the
“INDEMNIFIED PARTIES”.

. RECITAL

To induce the Company's current and future directors te accept the position
of, or te continue to serve as, directors of the Company, Mr. Jain has agreed tq
indemnify the Board and the Company against certain losses.

AGREEMEKT

L. INDEMNIFICATION. OF THE COMPANY AND THE BOARD

a) Mr. Jain agrees to bold harmless and indermify the Company and the
Board from and against all losses, liabilities, damages or expenses incurred by
the Company or the Board that result from any obligatian or liability arising
out of or in connection with each of the following (collectively, the “LOSSES"):

(il the hiring or termination of any employee or consultant of the
Company on or before September 30, 1996; ~

tli; any commercial contract of the Company entered into on or before
September 30, 1998 (including but not limited to contracts with
vendors, suppliers, cantent providers, affiliates, licensees and
licensors); provided, however, that this Section shall not apply
to any ordinary-course-of-business dispute arising out of any
written commerical contract that was disclosed in the corporate
records delivered to the Company’s general outside counsel prior
to September 30, 1998, unless such dispute relates to the oral
modification or termination of such commercial contract;

{iii} the issuance of the Company‘s common stock ("SHARES"}; or optians
to acquire Shares as the result of claims or potential claims
not known to the Board prior to September 10, 1998,

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except for such issuances involving, in the aggregate, 20,000 or
fewer Shares;

{iv) the issuance of Shares or options te acquire Shares as the
result ef claims or petential claims, known to the Hoard on
September 30, 1998, to the extent any such issuance ip the
aggregate involves the issuance of more than 500,006 chares;

any act of fraud by Mr. Jain occurriag on or before

{¥}_
September 30, 1998; and

{vi} any claim, or potential ¢laim, kmown to Mr. Jain on the date of
this “Agreement and not disclosed to the Board on or prior te the

date of this Agreement.

(b) Notwithstanding the foregoing. the indemnification provided bereby
shall be unavailable for any obligation or liability of the Company (other than
any obligation of liability set forth in Section l(a)(iv} above) (1) that is
specifically reflected or reserved against in the Company’s financial &tatements
for the fiscal years ended i996, 1997 and the nine-month period ended September
30, 1998, or (i1} “Chat was disclosed in the corporate records delivered to the

Company‘s general outside counsel prior te September 30, 159598. .

2. LIMITATIONS no

(a) Claims far indemnification made under this Agreement may be made only
during the period from the date herecf until five years after the date hereof.

(Bb) No indemnified party shall be entitied to receive any indemnification
payment with respect to claims for indemnification made under Section 1, until
aggregate Losses that all indemnified parties would be otherwise entitled to
receive as indemnification ezceed $100,000 (the “THRESHOLD"}; provided, however,
that once such aggregate Lossex erceed the Threshold, such party shall be
entitled to receive indemnification payment for the aggregate Losses That they
would be entitled to receive without regard to the Threshold.

_ {c}) The maximum aggregate amount that the indemnified parties shall be
encitled to under Section 1 is the Eserow Fund (4s defined below).

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party shall keep Mr. Jain timely apprised of the status of cuch Third Party
Claim, If the indemnified party defends or handles guch Third Party Claim. Hr.
Jain shall cooperate with the lademmified party and shall be entitled to
participate in the defense or handling of such Third Party Claim with his own
counsel and at his own expence. If the indemnified party is not the prevailing
party in such Third Party Claim, then Mr. Jain shall pay all reasonable fees end
expenses of counsel incurred by the indemnified party in connection with the
defense and handling of such Third Party Claim. In the event such Third Party
Claim is settled by the indemnified party, Mr. Jain shall pay the fees and
erpanses of counsel incurred by the indemnified party but only if the amount of
such settlement ia over $50,000,

(d) If the indemnified party intends to seek imdemnification hereunder,
other than for a Third Party Claim, then it shall notify Mr. dain in writing
within six months after its discovery of facts upon which it intends to base its
Claim for indermification hereunder, but the failure or delay so to notify kr.
Jain ehall not relieve Mr. Jain of any obligation or liability that Mr. Jain may
bave to the indemnified party except to the extent that Mr. Jain demonstrates
that Mr. Jain’s ability to defend or resolve such Claim is adversely affected

thereby.

4. ESTABLISHMENT OF ESCROW FUND

On the date hereof, Mr. Jain shall deliver to the Escrow Agent
certificates representing 1,000,000 shares of the Company’s Common Stock (the
"ESCROWED STOCK"}, along with an assignment separate from such certificate
properly enderged for assignment in blank. The Escrowed Stock and al] casb

Or Proceeds obtained by the Escrow agent hereunder {including, without
limitation, proceetis from the sale of the Eccrowed Stock by the Eserow Agent or
Mr. Jain under Section 4(c} hereof) shal] be referred to as the “ESCROW FUND”.

(4)

tb) Mx. Jain will have all rights to the Eserowed Stock, including,
without limitation, the right to vote the Escrowed Stock and the right to
Feceive cash dividends in respect of the Escrowed Stock; provided, however,
that, until this Agreement is terminated pursuant to Section 6, the Escrow Agent
shall have {i} the right to possess the Escrowed Stock and (ii) the right to
receive securities or other property in exchange therefor or in rezpect thereof
er dividends (other than cash dividends} or other distributions thereon or with

Tespect thereto.

(¢) Mr, Jain will have the right to sell the Escrowed Stock, previded that
all the proceeds of such sale remain part of the Escrow Fund and available for
payment to an indemnified party pursuant to Section 6 until this Agreement is
terminated pursuant to Section &. Any such sale shall ba made only through a
brokers’ transaction on the open market for cash consideration. ME. Jain shall
be entitled to invest the proceeds of such sale in a manner consistent with the

Company's
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investment policy as esteblished by the Soard, and te the extent that the face
amount of such investment plus accrued interest exceeds the consideration
received for the Esecrowed Stock sold by Mr. Jain, such excess funds may be

withdrawn by Mr. Jain. .
5. CLAIMS ON ESCROW FOND

(aj) If the indemnified party shall incur Lasses, it shall within ten days
of learning of facts giving rise to the claim for Losses deliver to the Escrow
Agent and Mr. Jain a certificate (a “CLAIM CERTIFICATE") siqned by a member of
the Board or an officer of the Company stating that ome or more members of the
Board and/or Company has incurred the Losses specified in such Claim Certificate
and setting forth in reasonable detall the facets giving rite to the claim and

the basis for the’ claim. :

{by Mr. Jain shall have 20 business days after delivery to the Escrow
Agent of any Claim Certificate to give to the Escrow Agent and the Board or the
Company, as the case may be, written notice of a dispute ("DISFUTE NOTICE") with
respect to such Claim Certificate setting forth in reasonable detail the nature

of the dispute.

. (¢} If at the end of the 20-day period deseribed in Section 5(b) the
Escrow Agent shall not have received s Dispute Notice with respect to any Claim
Certificate, such Claim Certificate shall constitute full authority to the
Escrow Agent to proceed to pay pursuant te the provisions ef Section 6 the
Losses specified in such Claim Certificate; provided, however, that, if the
Escraw Agent shall have received a Dispute Notice, the Escrow Agent shall not
pay any part af the Ese¢row Fund te the indemnified party until notified of the

resolution of the dispute pursuant te the provisions of Section &.

€. PAYMENT OF CLAIMS

The Escrow Agent shali pay 4 Claim Certificate im cash or by selling such
mumber of shares of the Escrowed Stock (or any proceeds or investment resulting
from the sale of Escrowed Stock under Section 4{c}) hereof} that sball bave a
value equal to the amount stated in the Claim Certificate. In the event that the
Claim Certificate states a claim payable in the Company’s Common Stock, the
Escrow Agent shall pay such claim by transfezring, delivering and assigning tc
the Board or the Company, as the case may be, such number of shares of the
Escrowed Stock stated in the Claim Certificate.

7. DISPUTE RESOLUTION :

Any dispute with respect to any Claim Cartificate or any other provision of
this Agreement shall be resolved as follows:

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(a) The disputing p
settlement shall be reflected
Escrow Agent shall act according to

arties shall firet attempt to settle the dispute. Any
d in writing and delivered to the Escrow Agent. The
such written settlement agreement.

(b) if within J0 days of when the Dispute Notice was delivered to the
Escrow Agent the disputiag parties have not arrived at a settlement agreement,
the dispute shall be submitted to arbitration as follows:

the Board shall select one arbitrator, Hr- Jain shall select one

(i}
elect a third arbitrator;

arbitrator and the Board and Mr. Jain together shall 6
ghall then be resolved in accordance with the,

tid) The arbitration rdar
American Arbitration Agsociation;

Commercial Arbitration Rules of the

(iii) Judgment may be rendered upon the award determined .by the
arbitrators in any court having jurisdiction thereof;

(iv) Should an injunction be sought, the amount of any bond required

shall not exceed $500; and

e of an arbitration award,

(v) Within ten days of receiving botic
t sball act according to the

unless restrained by court order, ‘the Escrow Agen
mandate of such arbitration eward.

»

B. TERMINATION

(a) The escrow provided for berein shall terminate five yenrs after the
date hereof (the “TERMINATION DATE") .

(b) Notwithstanding the provisions of (a) and (c) of this Section 6, if
the Board or the Company shall in good faith, prior to the Termination Date,
bave filed with the Escrow Agent and Mr. Jain a certificate signed by a member
ef the Board {on bebalf of the entire Hoard) to the effect that an item of
Losses (the maximum amount of which shall be specified in good faith in such
certificate] has been incurred by or asserted a2 ainst the Beard or the Company,
in respect of the settlement or discharge of which the Board or the Company
would entitled to receive a payment under thia Agreement, and that the
existence or the amount of such Losses remains undetermined, then the Escrow
Agent shall withhold from distribution that would otherwise be made pursuant to
Section @(c] a number of shares of Escrowed Stock that shall bave a value equal
te the maximum amount of such item of Losses as set forth in such certificate.
and shal] distribute the remainder of the Escrow Fund dalivarable under Section

Bic) to Mr. Jain.
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(¢}) Upon the termination of the escrow as aforesaid, the Esctow Agent
shali disburse and mr. Jain shall be entitled te receive that portion of the
Escrow fund as to which the escrow shall have so terminated. Any delivery af
sbares of Escrowed Stock pursuant to This Section @(c} shall be of full shares,
and the Escrew Agent shali sell the number of shares of Recrowed steck that
shall equal the aggregate of all fractions to which Mr. Jain would otherwise be
entitled. Promptly after the resolution of any item of Losses that was asserted
but not resolved by the Termination Date, the Escrow Agent shall deliver to the
Board or the Company, as the case may be, such pertion of the Escrow Fund to
which it is entitled and shall deliver the balance of the Escrow Fund to Mr.

Jain.
¢. woTrces *.

Unless written designation af a different address is filed with each of the
other parties hereto, all notices required to be iven under this Agreement
shall be deemed to have been properly given if mailed by registered mail,

addressed as follows:
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the Board or the Company:

Mr. Jehn E. Cunningham IV
c/o Perkins Cole LLP

L201 Third Avenue, 40th Floor
Seattle, WA 98101-3099

Fax: (206) 583-8500
Attention: Stephen Graham

with a-copy to:

Perkins Coie LIF.

420) Third Ave., 40th Floor
Seattle, WA 96101-3099

Faz: (206) 583-8500
Attention: Stephen Graham

Naveen Jain:

InfoSpace.com, Inc.
15375 H.E. 90tb Street
Redmond, WA 98052
Fax: (425) 8682-0988

with a copy to:

Bruce Robertson

Garvey. Schubert c Barer
1191 Second Avenue
Seattle, WA 98101

(206) 464-0125

10. DBUTIES AND ZABILITY OF ESCROW AGENT

The Escrow Agent may act on any instrument OF other writing believed by the
Escrow Agent to be genuine and to be signed or presented by the proper person
and .

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shall not be liable in connection with the performance by the Escrow Agent of
its duties pursuant to the provisions cf this Agreement, except for its own
willful default ox gross negligence. The Escrow Agent shail be, and hereby is,
jointly and saverally indemnified and saved harmless, by the parties hereta,
from all losses, Costs and expenses that may be incurred by it as a result of
its involvement in any litigation arising from performance of its duties
hereunder, provided that such litigation shall not result from any action taken
or omitted by the Escrow Agent and for which it shal] bave been adjudged

negligent.
11. SUCCESSORS

This Agreement and all action taken hereunder in accordance with its temns
shall be binding on and inure te the benefit af the Board, the Company and the
Eserow Agent and their respective successors and assigns, and Mr. Jain and their
Tespective succeseors, assigne. beirs, executors, administrators and legal

representatives.

12. SUBSTITUTION OF ESCROW AGENT

The Escrow Agent, or any successor to it hereaftar appointed, may at an
time resiqn by giving notice in writing to the Board, the Company 4nd Mr. Jain
and shall be discharged of ite duties hereunder upon the appointment of a4
Successor Escrow Agent as bereinafter provided. In the event of any such
Xesignation, a successor Escrow Agent, who shall be a shali be appointed by the
Board. Any such successor Escrow Agent shall deliver to the Board, the Company
and Mr. Jain a written instrument accepting such appointment hereunder, and
thereupon it shall succeed ta all the rights and duties of the Escrow Agent

Rereunder.
13. APPOINTMENT OF ESCROW AGENT

The Board, the Company and Mr. Jain hereby appoint the Company as the
Escrow Agent to serve in accordance with the terms af this Agreement for the
period beginning on the date hereof and ending six months from the date hereof,
during which period the Company, the Board and Mr. Jain shall conduct a good
faith Search te find a successor Escrow Agent that is mutually agreeable to all

The parties. The Company hereby agrees to act as Escrow Agent under this

Agreement.
14. FEE OF ESCROW AGENT

The Company shall pay the fees of the Escrow Agent serving under this
Agreement, if any.

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15. ENTIRE AGREEMENT

This Agreement is the entire agreement of the parties regarding its subject
matter and supersedes all prior written c: oxal Communications or agreements.

16. SEVERABILITY

The provisions of this Agreement bhall be severable. If this Agreement or

any portion sball be invalidated on any ground by any court of competent
jurisdiction, then the remainder of this Agreement shall not be affected thereby
and shall be given full force and effect and remain binding upon the parties.

17. GOVERNING LAW = _

This Agreement and the rights and obligations ‘of the Parties shall be
governed by and construed in accerdance with the laws of the state of
Washington, without giving effect to principles of conflicts of law.

18. COUNTERPARTS

This Agreement may be executed in one ox more counterparts, each of which
shall be deemed an original, but all of which together shall constitute one

instrument.
19. AMENDMENTS; WAIVERS; ADDITION OF NEW BCARD MEMBERS

ta) Neitber this Agreement nor any provision may be amended except by
written agreement signed by the parties. No waiver of any breach or default
shall be considered valid umless in writing, and no such waiver shall be deemed
a waiver of any subsequent breach er default,

(b) Notwithstanding the foregoing, this Agreement shall be deemed

automatically amended to include as a party and 4 member of the Board each
additional director elected or appointed to the Company’s board af directors.

20. SUCCESSORS AND ASSIGNS
_ This Agreement shall be binding upon Mr. Jain and his successors and
assigns. and inure to the benefit of the Board and the Company and their heirs,
legai representatives and assigns.
(Signature page follows)

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IN WITNESS WHEREOF, the parties hereto have executed this Agreement on and
as of the day and year first above written.

INFOSPACE.COM, INC,
/fs/ John Cuoninghan

By:

Title:

NAVEEH JAIN

/5/ Naveen Jain

THE BOARD:
PETER CURRIE

/&/ Peter Gurrie

GARY LIST
f*/ Gary List

CARL STORK
/s/ Catl Stork

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E.R. Donnelley

JOHN £E. CUNNINGHAM, IV.
/s/ Jobo Cunningbam

2 LL-BEC-1998 20;00 SLE:

(206) 325-0900

BERNED Dp. L. STROM

/s/ Bernee Strom

RUFUS W. LUMEY
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EXHIBIT 6

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Indemnification Agreement

. This Indemnification Agreement (this "Agreement’) dated as of December 11,
1998 is made between Naveen Jain ("/Mr. Jain", InfoSpace.com, Inc.,a Delaware
corporation (the "Company") and all the current and future members of the
Company's board of directors (excluding Mr. Jain) (the "Baard"), Collectively, the
Company and the members of the Board shall be referred to herein as the .
“Indemnified parties’.

RECITAL

To indoce the Company's current and future directors to accept the position o
or to continue to serve as, directors of the Company, Mr. Jain has agreed to indemnify
’ the Board and the Company against certain losses.

AGREEMENT
1, Indemnaification of the Company and the Board

@) the hiring or termination of any employee or consultant of the
Company on or before September 30, 1998;

(ii) amy commercial contract of the Company entered into on or
before September 30, 1998 (including but not limited to contracts
with vendors, suppliers, content providers, affiliates, licensees
and licensors); provided, however, that this Section shall not
apply to any ordinary-course-of-business dispute arising out of
any written commerical contract that was disclosed in the

_ Corporate records delivered to the Company’s general outside
counsel prior to September 30, 1998, unless such dispute relates
to the oral modification or termination of such commercial
contract;

(iii) the issuance of the Company's common stock (“Shares”) or
options to acquire Shares as the result of claims or potential
claims not known to the Board prior to September 30, 1998,

INDEMNIFICATION AGREEMENT
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except for such issuances involving, in the aggregate, 20,000 or
fewer Shares; ,

(iv) the issuance of Shares or options to acquire Shares as the result
of claims or potential claims, known to the Board on September
30, 1598, to the extent any such issuance in the aggregate
involves the issuance of more than 500,000 shares; ,

(v) any act of frand by Mr. Jain occurring on or before September
30, 1998; and

(vi) any claim, or potential claim, known to Mr. Jain on the date of
this Agreement and not disclosed to the Board on or prior to the
date of this Agreement.

(6) Notwithstanding the foregoing, the indemnification provided hereby
shall be unavailable for any obligation or liability of the Company
(other than any obligation or liability set forth in Section (a\{iv) above)
(i) that is specifically reflected or reserved against in the Company's
financial statements for the fiscal years ended 1996, 1997 and the nine-
Fhe ror peruaa coded September 30, 1998, or {ii) that was disclosed in

corporate re delivered to the Company’s general outside
counsel prior to September 30, 1998.

2. Limitations

(a) Claims for indemnification made under this Agreement may be made
only during the period from the date hereof until five years after the date hereof.

(b) No imdemnified party shall be entitled to receive any indemnification
payment with respect to claims for indemnification made under Section 1, until
aggregate Losses that all indemnified parties would be otherwise entitled to receive as
Todemnification exceed $100,000 (the * Threshold’); provided, however, that once

. such aggregate Losses exceed the Threshold, such party shall be entitled to receive
indemnification payment for the aggregate Losses that they would be entitled to
receive without regard to the Threshold.

{c) The maxinuum aggregate amount that the indemnified parties shall be
entitled to under Section 1 is the Escrow Fund (as defined below).

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3. Procedure

- (a) Any indemnified party hereto seeking indemnification hereunder shall
notify Mr. Jain in writing reasonably promptly after the assertion against the
indemnified party of any claim by e third party ox a derivative claim (a " Third-Party
Clainf) in respect of which the indemnified party intends to base a claim for
indemnification hereunder, but the fnilare or delay to so notify Mr. Jain shall not
relieve himof any obligation or liability that hemay have to the indemnified party .
except to the extent that Mr. Jain demonstrates that his ability to defend or resolve
such Third Party Claim is adversely affected thereby.

@)} = = Mr. Jain shall have the right, upon written notice given to the
indemnified party within 30 days after receipt of the notice from the indemnified party
of any Third Party Claim, to assume the defense or handling of such Third Party
Claim, at Mr. Jain's sole expense, in which case the provisions of Section 3(b)(ii)
below shall govern. (ii) Mr. Jain shall select counsel reasonably acceptable to the
indemnified party in connection with conducting the defense or handling of such
Third Party Cizim, and Mr. Jain shall defend or handle the same in consultation with
the indemnified party, and shall keep the indemnified party timely apprised of the
status of such Third Party Claim, and shall not, without the prior written consent of
the indemnified pasty, directly or indirectly assume any position or take any action
that would impose any obligation of any kind on or restrict the actions of the
indemnified party. Mr. Jain shall not, without the prior written consent of the
indemnified party, which consent shall not be unreasonably withheld, agree to a
settlement of any Third Party Claim that could directly or indirectly lead to liability or
create sny financial or other obligation on the part of the indemmified party for which
the indemnified party is not entitled to indemnification hereunder. The indemnified
party shall cooperate with Mr. Jain and shall be entitled to participate in the defense
or handling of such Third Party Claim with it; own counsel and at its own expense.
Notwithstanding the foregoing, in the event Mr. Jain fails to conduct the defense or
handling of any Third Party Ciaim in good faith after having assumed such defense or
handling, then the provisions of Section 3(c){ii) below shall govern.

fc) @& if Mr, Jain docs not give written notice to the indemnified party,
within 30 days after receipt of the notice from the indemnified party of any Third
Party Claim, of Mr. Jain's election to assume the defense or handling of such Third
Party Claim, the provisions of Section 3(c)(ii) below shall govern. (ii) The
indemnified party may select counsel in connection with conducting the defense or
handling of such Third Party Claim and defend or handle such Third Party Claim in
such manner as it may deem appropriate, provided, however, that the indemnified
party shall keep Mr. Jain timely spprised of the status of such Third Party Claim. If

INDEMNIFICATION AGREEMENT
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the indemnified party defends or handles such Third Party Claim, Mr. Jain shalt

with the indemnified party and shall be entitled to participate in the defense
or handling of such Third Party Claim with his own counsel and at his own expense.
If the indemmified party is not the prevailing party in such Third Party Claim, then Mr.
Jain shall pay all reasonable fees and expenses of counsel incurred by the indemnified
party in connection with the defense and handling of such Third Party Claim. In the
event such Third Party Claim is settled by the indemnified party, Mr. Jain shall pay
the fees and expenses of counsel incurred by the indemnified party but only if the
amount of such settlement is over $50,000. -

(a) If the indemnified party intends to seek indemnification hereunder, other
than for a Third Party Cisim, then it shall notify Mr. Jain in writing within six months
after its discovery of facts upon which it intends to base its Claim for indemnification
hereunder, but the failure or delay so to notify Mr. Jain shall not relieve Mr. Jain of
any obligation or liability that Mr. Jain may have to the indemnified party except to
the extent that Mr. Jain demonstrates that Mr. Jain's ability to defend or resolve such
Claim is adversely affected thereby.

4. Establishment of Escrow Fund

{a) On the date hereof, Mr, Jain shail deliver to the Escrow Agent
certificates representing 1,000,000 shares of the Company's Common Stock (the
"Escrowed Stock"), along with an assignment separate from such certificate properly
endorsed for assignment in blank. The Escrowed Stock and all cash or proceeds ©
obtained by the Escrow Agent hereunder (including, without limitation, proceeds from

. the sale of the Escrowed Stock by the Escrow Agent or Mr. Jain under Section 4(c)
hereof) shall be referred to as the "Escrow Fund".

(b) = Mr. Jain will have all rights to the Escrowed Stock, including, without
limitation, the right to vote the Escrowed Stock and the right to receive cash dividends
in respect of the Escrowed Stock; provided, however, that, until this Agreement is
terminated purspant to Section 8, the Escrow Agent shall have (i) the right to possess
the Escrowed Stock and (ji) the right to receive securities or other property in
cree et ee Te ee ea ioends (other than cash dividends) or
other distributions thereon or with respect thereto.

(c) Mr. Jain will have the right to sell the Escrowed Stock, provided that all
the proceeds of sych sale. remain part of the Escrow Fund and available for payment
to an indemnified party pursuant to Section 6 until this Agreement is terminated
pursuant to Section 8. Any such sale shall be made only through a brokers’
transaction on the open market for cash consideration. Mr. Jain shall be entitled to

Dear aaron uch sale in a manner consistent with the Company's
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investment policy as established by the Board, and to the extent that the face amount
- of such investment plus accroed interest exceeds the consideration received for the
Escrowed Stock sold by Mr. Jain, such excess funds may be withdrawn by Mr, Jain.

5. Claims on Escrow Fund

(a) _ If the indemnified party shall incur Losses, it shall within ten days of

learning of facts giving rise to the claim for Losses deliver to the Escrow Agent and —
Mr, Jain a certificate (a " CJaim Certificate’) signed by a member of the Board or an
officer of the Compeny stating that one or more members of the Board and/or
Company has incurred the Losses specified in such Claim Certificate and setting forth
in reasonable detail the facts giving risc to the claim and the basis for the claim.

(b) = Mr. Jain shall have 20 business days after delivery to the Escrow Agent
of any Claim Certificate to give to the Escrow Agent and the Board or the Company,
as the case may be, written notice of a dispute ("Dispute Notice”) with respect to such
Claim Certificate setting forth in reasonable detail the nature of the dispute.

(c) If at the end of the 20-day period described in Section 5(b) the Escrow
Agent shall not have received a Dispute Notice with respect to any Claim Certificate,
such Claim Certificate shall constitute full authority to the Escrow Agent to proceed
to pay pursuant to the provisions of Section 6 the Losses specified in such Claim
Certificate; provided, however, that, if the Escrow Agent shall havereceiveda
Dispute Notice, the Escrow Agent shall not psy sny part of the Escrow Fund to the
indemnified party until notified of the resolution of the dispute pursuant to the
provisions of Section 8.

6 Payment of Claims

The Escrow Agent shall pay a Claim Certificate in cash or by selling such
number of shares of the Escrowed Stock (or any proceeds or investment resulting
from the sale of the Escrowed Stock undex Section 4(c) hereof) thet shall have a value
equal to the amount stated in the Claim Certificate, In the event that the Claim
Certificate states a claim payable in the Company's Common Stock, the Escrow Agent
shall pay such claim by transferring, delivering and assigning to the Board or the
Company, as the case may be, such number of shares of the Escrowed Stock stated in
the Claim Certificate,

7. Dispute Resolution

Any dispute with respect to any Claim Certificate or any other provision of this
Agreement shall be resolved as follows:

INDEMNIFICATION AGREEMENT
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(a) The disputing parties shall first attempt to settle the dispute. Any
settlement shall be reflected in writing and delivered to the Escrow Agent. The
Escrow Agent shall act according to such written settlement agreement.

(b) If within 30 days of when the Dispute Notice was delivered to the
Escrow Agent the disputing parties have aot strived at a setlement agreement, the
dispute shall be submitted to arbitration as follows:

{i} — the Board shall sclect one arbitrator, Mr. Jain shall select one
arbitrator and the Board and Mr. Jain together shail select a third arbitrator;

Gi) The arbitration shall then be resolved in accordance with the
Commercial Arbitration Rules of the American Arbitration Association;

(iii) Judgment may be rendered upon the award determined by the
(iv) Should an ijmetion be sought, the amount f any bond required
shall not exceed $500; and

(v) Within ten days of receiving notice of an arbitration award,
unless restrained by court order, the Escrow Agent shall act according to the mandate
of such arbitration award.

8, Termination

{a} The escrow provided for herein shall terminate five years after the date
heseof (the " Termination Date")

(b) Notwithstanding the provisions of (a) and (c) of this Section 8, if the
Board or the Company shall in good faith, prior to the Termination Date, have filed
With the Escrow Agent and Mr. Jain a certificate signed by 2 member of the Board {on
behalf of the entire Board) to the cffect that an item of Losses (the maximum amount
of which shall be specified in good faith in such certificate) has been incurred by or
asserted against the Bosrd or the Company, in respect of the settlement or discharge
of which the Board or the Company would be entitled to receive a payment under this
Agreement, and that the existence or the amount of such Losses remains
undeterruined, then the Escrow Agent shall withhold from distribotion that would
otherwise be made pursuant to Section 8{c)} a mumber of shares af Escrowed Stock
that shall have a value equal to the maximum amount of such item of Losses as set
forth in such certificate, and shall distribute the remainder of the Escrow Fund
deliverable under Section &(c) toe Mr. Jain.

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(c) Upon the termination of the escrow as aforesaid, the Escrow Agent shall
disburse and Mr. Jain shall be entitled to receive that portion of the Escrow Fund a3 to
which the escrow shali have so terminated. Any delivery of shares of Escrowed Stock
pursuant to this Section 8(c) shall be of full shares, and the Escrow Agent shall sell
the number of shares of Escrowed Stock that shall equal the aggregate of all fractions
to which Mr. Jain would otherwise be entitled. Promptly after the resolution of any
item of Losses that was asserted but not resolved by the Termination Date, the Escrow
Agent shall deliver to the Board or the Company, as the case may be, such portion of.
the Escrow Fund to which it is entitled and shall deliver the balance of the Escrow
Fund to Mr. Jain.

9. Notices
Unless written designation of a different address is filed with each of the other

' parties hereto, all notices required to be given under this Agreement shall be deemed
to have been properly given if mailed by registered mail, addressed as follows:

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the Board or the Company:

Mr. John E. Cunningham IV
c/o Perkins Coie LLP

1201 Third Avenue, 40 Floor
Seattle, WA 98101-3099

Fax: (206) 583-8500
Attention: Stephen Graham

with a copy to:

Perkins Coie LLP

1201 Third Ave., 40th Floor
Seattle, WA 98101-3099
Fax; (206) 583-8500 —
Attention: Stephen Graham

Naveen Jain:

InfoSpace.com, Inc.
15375 N_E. 90” Street
Redmond, WA 98052
Fax: (425) 882-0988

with a copy to:

Brace Robertson

Garvey, Schubert & Barer
1191 Second Avenve
Seattle, WA 93101

(206) 464-0125

10. Duties and Liability of Escrow Agent

The Escrow Agent may act on any instrament or other writing believed by the
Escrow Agent to be genuine and to be signed or presented by the proper person and
shall not be liable in connection with the performance by the Escrow Agent of its
INDEMNIFICATION AGREEMENT
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dutics pursuant to the provisions of this Agreement, except for its own willful default

. or gross negligence. The Escrow Agent shall be, and hereby is, jointly and severally

indemnified and saved harmless, by the parties hereto, from all losses, costs and

expeuses that may be incurred by it ss a result of its involvement in any litigation
arising from performance of its duties hereunder, provided that such litigation shall
not result fram any action taken or mitted by the Escrow Agent and for which it shall
have been adjudged negligent. a

ll. Swecessors

|
: This Agreement and all action taken hercunder in accordance with its terms
shal} be binding on and inure to the benefit of the Board, the Company and the
Escrow Agent and their respective successors and assigns, and Mr. Jain and their
respective successors, assigns, heirs, executors, adminisirators and iegal
representatives.
12. Substitution of Escrow Agent

The Escrow Agent, or any successor to it hereafter appointed, may at any time
resign by giving notice in writing to the Board, the Company and Mr. Jain and shall
‘be discharged of its duties hereunder upon the appointment of a saccessor Escrow
* Agent a3 hereinafter provided. In the event of any such resignation, a successor
Escrow Agent, who shall be a shall be appointed by the Board. Any such successor
| Escrow Agent shall deliver to the Board, the Company and Mr. Jain a written
instrument accepting such appointment hereunder, and therenpon it shall secceed to
al) the rights and duties of the Escrow Agent hereunder.

13. Appointment of Escrow Agent

The Board, the Company and Mr. Jain hereby appoint the Company as the
Escrow Agent to serve in accordanes with the terms of this Agreement for the period
beginning on the date hereof and ending six months from the date hereof, during
which period the Company, the Board and Mr. Jain shal! conduct a good faith search
to find a successor Escrow Agent that is mutually agreeable to all the parties. The
Company hereby agrees to act as Escrow Agent under this Agreement.

4. Fee of Escrow Agent

' ‘The Company shall pay the fees of the Escrow Agent serving under this
Agreement, if any.

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18, Entire Agreement

This Agreement is the entire agreement of the parties regarding its subject
matter and supersedes all prior written or oral communications or agreements.
16, Severability
_. - The provisions of this Agreement shall be severable. If this Agreement or any
portion shall be invalidated on any ground by any court of competent jurisdiction, —
then the remainder of this Agreement shall not be affected thereby and shall be given
fall force and effect and remain binding upon the parties.
17. Governing Law

This Agreement and the rights and obligations of the parties shall be governed
by and constrved in accosdance with the laws of the state of Washington, without
giving effect to principles of canflicts of law.

18 Counterparts

|
‘ This Agreement may be executed in one or more counterparts, each of which
) shall be deemed an original, but all of which together shall constitute one instrument.

19 Amendments; Waivers; Addition of New Board Members

' (a) = Neither this Agreement nor any provision may be amended except by
written agreement signed by the parties. No waiver of any breach or default shall be
considered valid unless in writing, and no such waiver shal} be deemed a waiver of
any subsequent breach or default,

(tb) Notwithstanding the foregoing, this Agreement shal! be deemed
automaticslly amended to include as a party and a member of the Board each
additional director elected or appointed to the Company's board of directors.

20. Successors and Assigns

‘This Agreement shell be binding upon Mr. Jain and his successors and assigns,
and inure to the benefit of the Board and the Company and their heirs, legal

(Signature page follows)
INDEMNIFICATION AGREEMENT
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IN WITNESS WHEREOF, the parties hereto have executed this Agreement on
and as of the day and year first above written.

INFOSPACE.COM, INC,

THE BOARD:
PETER CURRIE
| .
GARY LIST
|
CARL STORK
INDEMNIFICATION AGREEMENT
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IN WITNESS ¥ WHEREOF, the parties hereto have executed this Agreement on
and as of the day and year first above written.

INFOSPACE.COM, INC.

cm ()

THE BOARD:
PETER CURRIE

GARY LIST

CARL STORK

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IN WITNESS WHEREOF, the parties hereto have executed this Agreement on
and as of the day and year first above written. .

INFOSPACE.COM, INC,

THE BOARD: —

GARY LIST

INDEMNIFICATION AGREEMENT
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